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August 25, 2016                                                                                                  Vanguard
                                                                                                        P.O. Box 2900
                                                                                                        Valley Forge, PA 19482-2900
                                                                                                        vanguard.com


                                                                Vanguard All-in fee disclosure

Vanguard is pleased to furnish an updated All-in fee report for your plan. The report gives an overview of the
services provided to your plan and additional fee information as required by Department of Labor rules under ERISA
section 408(b)(2). We hope you will find this information helpful and we recommend that you use the information to
help satisfy your fiduciary duty to ensure that your plan is paying reasonable compensation for the services provided
to your plan.

This fee disclosure document is comprised of three components: (0 a Summary fee report that provides a
consolidated view of your plan's fee information; (ii) our enhanced All-in fee report, which contains the detailed fee
information you are accustomed to receiving from Vanguard; and (iii) an Appendix containing important additional
information required by the DOL fee disclosure regulation.

The following is an Index for finding key required disclosures within the report:


                                                                            Index of disclosures

                                                                                                      Location of Vanguard
Components
                                                                                                      disclosure

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Statement of fiduciary status                                                                         Appendix
Float disclosure                                                                                      Appendix
Trade processing and reconciliation                                                                   Appendix
Gift and entertainment policy                                                                         Appendix
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As permitted by the regulation, and to the extent necessary, disclosures for additional services not currently
expected may be satisfied through additional documents (e.g., engagement letters, project scope documents, fee
agreements or other communications).




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Summary fee report
NEW YORK UNIVERSITY                                                              Calculated as of June 30 2016


Client Assets           Total all-in fees
 $994,187,161            $2,213,555                                                                 0.22%
                        Asset-based fees by provider



                          Vanguard                                                             $2,213,555
                        ■ Non-Vanguard                                                                  $0
                        ■ Other investments                                                             $0

                        Total fees by service




                        Asset-based fees net of recordkeeping                    _.16%         $1,602,194
                        ■ Vanguard (less recordkeeping credit)
                                                                                               $1,602,194
                          Non-Vanguard (less payment for
                                                                                                       $0
                          recordkeeping)
                                                                                                       $0
                        I Other investments
                        ■Recordkeeping compensation by source                    0.06%           $611,361
  Vanguard                    Total direct compensation: Fee paid directly from plan                    $0
■ $994,187,161                Total indirect compensation: Payment for recordkeeping from
                                                                                                        $0
    Non-Vanguard              non-Vanguard funds
    $0                        Total recordkeeping compensation from plan sponsor                       $0
    Other investments         Vanguard current recordkeeping credit                              $611,361
m   $0

 Participant            L Additional fees                                                               $0
 accounts
                          Total all-in fees                                                    $2,213,555
13,892




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Summary fee report
NEW YORK UNIVERSITY                                                                             Calculated as of June 30 2016

Vanguard fund asset-based fees

                                                                              Expense    Morningstar     Current recordkeeping
Fund Name                                                           Assets       ratio      average                      credit
Vanguard Institutional Index Fund Institutional Shares          $80,494,205     0.04%         1.02%                      0.00%
Vanguard Total Stock Market Index Fund Institutional Shares     $51,977,517     0.04%         1.02%                      0.00%
Vanguard Windsor Fund Investor Shares                           $51,399,846     0.39%         1.08%                      0.10%
Vanguard PRIMECAP Fund Investor Shares                          $39,480,122     0.40%         1.16%                      0.06%
Vanguard Target Retirement 2045 Fund                            $38,616,464     0.16%         0.40%                      0.06%
Vanguard Prime Money Market Fund                                $36,019,991     0.16%           N/A                      0.00%
Vanguard Target Retirement 2025 Fund                            $34,191,723     0.15%         0.39%                      0.05%
Vanguard Target Retirement 2035 Fund                            $33,658,339     0.15%         0.39%                      0.05%
Vanguard Total Bond Market Index Fund Investor Shares           $33,506,952     0.16%         0.79%                      0.10%
Vanguard Target Retirement 2040 Fund                            $32,483,910     0.16%         0.43%                      0.06%
Vanguard Wellington Fund Investor Shares                        $31,017,652     0.26%         0.86%                      0.08%
Vanguard Target Retirement 2050 Fund                            $23,460,545     0.16%         0.41%                      0.06%
Vanguard Target Retirement 2030 Fund                            $23,344,391     0.15%         0.43%                      0.05%
Vanguard Windsor II Fund Investor Shares                        $21,130,009     0.34%         1.08%                      0.08%
Vanguard Capital Opportunity Fund Investor Shares               $19,311,982     0.45%         1.16%                      0.07%
Vanguard Target Retirement 2020 Fund                            $18,512,282     0.14%         0.43%                      0.04%
Vanguard Target Retirement 2015 Fund                            $17,460,413     0.14%         0.36%                      0.04%
Vanguard Total International Stock Index Fund Investor Shares   $14,522,782     0.19%         1.12%                      0.07%
Vanguard Balanced Index Fund Investor Shares                    $14,089,108     0.22%         0.86%                      0.14%
Vanguard International Growth Fund Investor Shares              $13,847,910     0.47%         1.28%                      0.13%
Vanguard REIT Index Fund Investor Shares                        $13,421,568     0.26%         1.28%                      0.14%
Vanguard Morgan Growth Fund Investor Shares                     $13,132,181     0.40%         1.16%                      0.13%
Vanguard Growth Index Fund Investor Shares                      $12,240,481     0.22%         1.16%                      0.14%
Vanguard U.S. Growth Fund Investor Shares                       $12,147,089     0.47%         1.16%                      0.14%
Vanguard Health Care Fund Investor Shares                       $11,897,583     0.36%         1.32%                      0.05%
Vanguard Mid-Cap Index Fund Investor Shares                     $11,480,911     0.20%         1.13%                      0.12%
Vanguard LifeStrategy Growth Fund                               $11,180,883     0.15%         0.88%                      0.00%
Vanguard Wellesley Income Fund Investor Shares                  $11,008,695     0.23%         0.81%                      0.07%
Vanguard Long-Term Investment-Grade Fund Investor Shares        $10,926,478     0.21%         0.88%                      0.09%
Vanguard Dividend Growth Fund                                   $10,655,614     0.33%         1.02%                      0.00%
Vanguard Emerging Markets Stock Index Fund Investor Shares      $10,625,596     0.33%         1.50%                      0.18%
Vanguard Inflation-Protected Securities Fund Investor Shares    $10,551,314     0.20%         0.75%                      0.10%
Vanguard Long-Term Treasury Fund Investor Shares                $10,098,159     0.20%         0.61%                      0.10%
Vanguard Equity Income Fund Investor Shares                      $9,805,918     0.26%         1.08%                      0.09%
Vanguard Explorer Fund Investor Shares                           $9,564,200     0.49%         1.30%                      0.14%
Vanguard Short-Term Investment-Grade Fund Investor Shares        $9,251,219     0.20%         0.79%                      0.10%
Vanguard Strategic Equity Fund                                   $9,179,661     0.21%         1.13%                      0.00%
Vanguard LifeStrategy Moderate Growth Fund                       $9,000,248     0.14%         0.86%                      0.00%
Vanguard Small-Cap Value Index Fund                              $8,233,147     0.20%         1.33%                      0.12%
Vanguard STAR Fund                                               $7,847,833     0.34%         0.86%                      0.00%
Vanguard High-Yield Corporate Fund Investor Shares               $7,263,537     0.23%         1.07%                      0.10%
Vanguard Growth and Income Fund Investor Shares                  $7,004,126     0.34%         1.02%                      0.11%
Vanguard GNMA Fund Investor Shares                               $6,651,527     0.21%         0.89%                      0.10%




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Summary fee report
NEW YORK UNIVERSITY                                                                                                   Calculated as of June 30 2016

                                                                                          Expense             Morningstar         Current recordkeeping
 Fund Name                                                                  Assets           ratio               average                          credit
 Vanguard International Explorer Fund                                   $6,257,768           0.42%                  1.31%                           0.00%
 Vanguard Global Equity Fund                                            $5,991,304           0.57%                  1.26%                           0.00%
 Vanguard Small-Cap Index Fund Investor Shares                          $5,873,833           0.20%                  1.22%                           0.12%
 Vanguard Energy Fund Investor Shares                                   $5,865,764           0.37%                  1.47%                           0.06%
 Vanguard Selected Value Fund                                           $5,584,357           0.39%                  1.18%                           0.00%
 Vanguard LifeStrategy Conservative Growth Fund                         $5,444,481           0.13%                  0.81%                           0.00%
 Vanguard Extended Market Index Fund Investor Shares                    $5,216,109           0.22%                  1.13%                           0.13%
 Vanguard Value Index Fund Investor Shares                              $5,206,420           0.22%                  1.08%                           0.14%
 Vanguard International Value Fund                                      $5,014,341           0.46%                  1.18%                           0.00%
 Vanguard Intermediate-Term Bond Index Fund Investor Shares             $4,986,370           0.16%                  0.79%                           0.07%
 Vanguard Small-Cap Growth Index Fund Investor Shares                   $4,919,578           0.20%                  1.30%                           0.12%
 Vanguard Intermediate-Term Investment-Grade Fund Investor
                                                                        $4,722,120           0.20%                  0.88%                           0.10%
 Shares
 Vanguard Precious Metals and Mining Fund                               $4,713,820           0.35%                  1.44%                           0.00%
 Vanguard Long-Term Bond Index Fund                                     $4,706,779           0.16%                  0.59%                           0.00%
 Vanguard European Stock Index Fund Investor Shares                     $4,480,599           0.26%                  1.40%                           0.14%
 Vanguard Short-Term Bond Index Fund Investor Shares                    $4,356,585           0.16%                  0.79%                           0.07%
 Vanguard Target Retirement 2055 Fund                                   $4,349,603           0.16%                  0.39%                           0.06%
 Vanguard Target Retirement Income Fund                                 $4,261,247           0.14%                  0.44%                           0.04%
 Vanguard Pacific Stock Index Fund Investor Shares                      $4,196,569           0.26%                  1.35%                           0.14%
 Vanguard Target Retirement 2010 Fund                                   $4,123,698           0.14%                  0.37%                           0.04%
 Vanguard Mid-Cap Growth Fund                                           $4,059,726           0.43%                  1.27%                           0.00%
 Vanguard Intermediate-Term Treasury Fund Investor Shares               $3,698,666           0.20%                  0.89%                           0.10%
 Vanguard Short-Term Treasury Fund Investor Shares                      $3,495,549           0.20%                  0.80%                           0.10%
 Vanguard Developed Markets Index Fund Investor Shares                  $3,126,993           0.20%                  1.12%                           0.11%
 Vanguard PRIMECAP Core Fund                                            $3,087,832           0.47%                  1.16%                           0.00%
 Vanguard Treasury Money Market Fund                                    $1,901,608           0.09%                     N/A                          0.00%
 Vanguard U.S. Value Fund                                               $1,826,276           0.26%                  1.08%                           0.00%
 Vanguard Short-Term Federal Fund Investor Shares                       $1,781,159           0.20%                  0.80%                           0.10%
 Vanguard Convertible Securities Fund                                   $1,747,880           0.38%                  1.28%                           0.00%
 Vanguard Capital Value Fund                                            $1,710,355           0.50%                  1.13%                           0.00%
 Vanguard LifeStrategy Income Fund                                      $1,668,769           0.12%                  0.69%                           0.00%
 Vanguard Federal Money Market Fund                                     $1,624,899           0.11%                     N/A                          0.00%
 Vanguard FTSE Social Index Fund Investor Shares                        $1,538,800           0.25%                  1.02%                           0.00%
 Vanguard Target Retirement 2060 Fund                                     $953,197           0.16%                  0.34%                           0.06%
 Vanguard total                                                       $994,187,161           0.22%                  0.89%                           0.06%
 Vanguard total asset-based fees                                                        $2,213,555              $8,497,398                       $611,361


"The current recordkeeping payment is paid by the fund, fund company, or its advisor to Vanguard for recordkeeping and shareholder servicing. For more
information on these payments, please refer to the fund's prospectus. Additional fees may be described below.

 Recordkeeping fees
 Fee description                                                    Paid by                                                                      Total fee
 Annual Administrative Fee                                     Plan sponsor                                               Included in Current Service Offer

Total recordkeeping compensation from plan sponsor                                                                                                       $0




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Summary fee report
NEW YORK UNIVERSITY                                                                                                       Calculated as of June 30 2016

 Annual Recordkeeping Per All
 Participant (Paid By Participant Fixed                            Participants                                               Included in Current Service Offer
 Per Capita)
Total direct compensation                                                                                                                                      $0

Total indirect compensation (Current recordkeeping payment from non-Vanguard funds)                                                                            $0
Vanguard current recordkeeping credit                                                                                                                  $611,361
Total recordkeeping compensation                                                                                                                       $611,361
" Direct compensation includes fees paid out of the plan. Plan sponsors may pay appropriate fees from the plan forfeiture account if permitted in the plan
document.

 Additional fees

 Fee description                                                                               Paid by                                                       Fee
 Ad Hoc Reporting                                                                         Plan sponsor                                        As Agreed Upon
 Additional Processing                                                                    Plan sponsor                                        As Agreed Upon
 Beneficiary Determination Service                                                        Plan sponsor                        Included in Current Service Offer
 Client Requested Account Adjustments                                                     Plan sponsor                                        As Agreed Upon
 Conversion - Asset Transfer                                                              Plan sponsor                                        As Agreed Upon
 Conversion - Divisional Transfers                                                        Plan sponsor                                        As Agreed Upon
 Conversion - Plan To Plan Transfers                                                      Plan sponsor                                        As Agreed Upon
 Conversion - Start Up Plans                                                              Plan sponsor                                        As Agreed Upon
 Mistake of Fact Processing                                                               Plan sponsor                                                       $50
 Participant Education Retirement Service                                                 Plan sponsor                                        As Agreed Upon
 QDRO Processing (Paid By Participant Fixed Per Capita)                                    Participants                                                      $50
 Return of Excess                                                                         Plan sponsor                                                       $50

 Termination related compensation*                                                                                                                    $15.000
 "Vanguard charges a fee for the conversion services that it will perform to transfer a plan to a subsequent provider. The standard conversion services fee
 above will apply unless otherwise outlined in the recordkeeping fee agreement. Early termination fees also outlined in your recordkeeping fee agreement
 may apply if the arrangement is terminated in the first three years.

 Fees charged by Vanguard generally are billed in arrears. As such, plans are not charged amounts to pre pay for services. If such arrangements are made
 with a plan, the calculation and refund of any such pre-paid amounts upon transfer or termination of the plan is detailed in a separate agreement with the
 plan governing those services.


  All-in fee summary
 Vanguard total asset-based fees                                                                                                                    $2,213,555
 Non-Vanguard total asset-based fees                                                                                                                        $0
 Other investment total asset-based fees                                                                                                                    $0
 Total direct compensation                                                                                                                                  $0
 Total recordkeeping compensation from plan sponsor                                                                                                         $0
 Included additional fees                                                                                                                                   $0
 Other additional fees                                                                                                                                Variable

 Total all-in fees                                                                                                                                  $2,213,555

 Total assets                                                                                                                                    $994,187.161

 Total expense ratio                                                                                                                                     0.22%




                                                                                                                                                     NYU0007189
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                                                     FOOTNOTES
This All-in fee report includes all fees, expenses and compensation Vanguard reasonably expects it, its affiliates or its
subcontractors to receive, and any compensation received by an outside fund company in the form of the outside fund's
expense ratio as reported by a third party to Vanguard. Any fees, expenses or compensation charged or received by
another covered service provider to the plan is not included.
All investing is subject to risk. Investments in bond funds are subject to interest rate, credit, and inflation risk. Foreign
investing involves additional risks including currency fluctuations and political uncertainty. The cost information
presented on this analysis is from the best available information on the date it was prepared and is subject to change.
This information is subject to change based on our review of the specifications associated with a particular client plan(s).
The Vanguard expense ratios, expressed as a percentage of the fund's assets, have been restated to reflect expenses
being deducted from current fund assets, as of the most recent prospectus. If applicable, outside fund expense ratios
were obtained from Lipper, Morningstar, or the fund company and are only as current as the information supplied to
these entities by third parties. Vanguard makes no representations as to the completeness or accuracy of data obtained
from third parties.
Asset data in this report may vary from previous reports or other sources due to subsequent plan activity.
All fund expense ratios are as reported in their prospectus. Because some funds invest in other investment companies,
including business development companies (BDCs), SEC rules require that these funds' reported expense ratios include
the expenses of these other investment companies (known as acquired fund fees and expenses or AFFE), though
these are actually internal expenses of the BDCs, not fees paid to Vanguard, and are not fund expenses that
additionally reduce the return of these funds.
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its content providers; (2) may not be copied or distributed; and (3) is not warranted to be accurate, complete or timely.
Neither Morningstar nor its content providers are responsible for any damages or losses arising from any use of this
information. Past performance is no guarantee of future results.
The Morningstar Average is the category average expense ratio for all funds within the category peer group as
assembled by Morningstar, Inc.
The Vanguard Group (Vanguard) has partnered with Financial Engines Advisors L.L.C. (Financial Engines), an
independent, federally registered investment advisor that is not affiliated with Vanguard, to provide subadvisory services
to the Vanguard Managed Account Program (VMAPTM) and Personal Online Advisor (POA). Financial Engines does not
sell investments or receive commissions for the investments it recommends. Advisory services are provided by
Vanguard Advisers, Inc. (VAI), a federally registered investment advisor and an affiliate of Vanguard. For certain POA
arrangements entered into before 2006, advisory services are not provided by VAI but rather by Financial Engines, a
federally registered investment advisor that is not affiliated with Vanguard. Please refer to your plan's separate VMAP or
POA agreement for additional information. Vanguard is owned by the Vanguard funds, which are distributed by
Vanguard Marketing Corporation, a registered broker-dealer affiliated with VAI and Vanguard. Neither Vanguard,
Financial Engines, nor their respective affiliates guarantee future results.
The Vanguard Financial Plan is provided by Vanguard Advisers, Inc., a registered investment advisor.
Vanguard Asset Management Services are provided by Vanguard National Trust Company, which is a federally
chartered, limited-purpose trust company operated under the supervision of the Office of the Comptroller of the
Currency.


                                                       APPENDIX

Recordkeeping disclosures

Methodology for Determining Recordkeeping Compensation
Several different sources of revenue comprise Vanguard's compensation for recordkeeping services provided to the
plan. These include:
•Direct compensation — These fees are deducted directly from participant accounts or plan assets.
•Indirect compensation — Certain non-Vanguard investments (including mutual funds and collective trusts) pay Vanguard
(or one of its affiliates) compensation for services provided to plan participants invested in such non-Vanguard
investments ("market-based payments for distribution"). This compensation includes shareholder-servicing fees, sub-
transfer agency fees, distribution or 12b-1 fees, or account recordkeeping fees. These arrangements pay compensation




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for recordkeeping services that would otherwise be charged to the plan.
•Vanguard fund current recordkeeping credit — In accordance with, and as required by, the regulation under 408(b)(2),
Vanguard has determined that for all plan assets invested in certain Vanguard mutual funds, a credit shall be attributed
for recordkeeping services provided by Vanguard to the plan. The attribution rate considers a number of factors
including: non-Vanguard fund market-based payments for distribution, the relative difference between Vanguard
expense ratios and those of other major fund companies, expense ratio differences between Vanguard's various share
classes and trends in Vanguard fund expense ratios. Recordkeeping attribution rates for the Vanguard funds are
reviewed by management on an on-going basis and are subject to change.
•Recordkeeping compensation from plan sponsor — This compensation is not included in the calculation of direct
compensation. These are fees that are billed directly to the plan sponsor and are not identified as intended to be paid
from plan assets, however, fees the plan sponsor directs to be paid out of the forfeiture account and fees paid by the
plan sponsor that are reimbursed by the plan are considered direct compensation.
In addition to the above, Vanguard may receive compensation for other services offered outside of the standard
recordkeeping package, which are billed to the plan or plan sponsor and disclosed separately.


Compensation among related parties
Service providers must supply plan sponsors with a description of any compensation that will be paid to the service
provider, an affiliate or a subcontractor in connection with the services provided to the plan if such compensation is set
on a transaction basis (e.g., commissions, soft dollars, finder's fees, or other similar incentive compensation based on
business placed or retained) or that will be charged directly against the plan's investment and reflected in the net value
of the investment (e.g., 12b-1 fees).
No such compensation has been or will be paid among Vanguard and any affiliate or subcontractor in connection with
the services provided to the plan.


Manner of receipt of compensation
Compensation received by Vanguard will be billed directly to the plan sponsor or paid directly from the covered plan's
accounts or investments as detailed herein. Certain additional or optional service fees are generally billed directly to the
plan sponsor, but may be paid by plan assets (e.g., from plan forfeitures) at the discretion and direction of the plan
sponsor and in accordance with the plan document.


Additional disclosures


Description of services
Vanguard, its affiliates, and subcontractors provide the following core services to the plan:
Trustee services — If reflected in the plan's trust agreement, Vanguard Fiduciary Trust Company (VFTC) serves as
directed trustee for the plan .
Recordkeeping services — Vanguard's recordkeeping services to the plan include:
•Basic account recordkeeping (e.g., demographic, source, investment and vesting records)
•Multi-channel participant and plan sponsor access (e.g., phone, web, Vanguard plan sponsor Bridge®)
•Daily participant transaction accounting (e.g., purchases, redemptions, exchanges)
•Payroll services (e.g., contribution and loan repayments)
•Distribution services (e.g., hardships, in-service withdrawals, termination distributions)
•Participant tax reporting services (e.g., IRS Form 1099-R)
•Participant confirmations, statements, and standard notices
•Plan-level reporting and annual financial package (excluding IRS Form 5500)
•Participant education (e.g., newsletters, web articles, standard communication materials)
•Plan consulting (e.g., preapproved document services, operational compliance support)
At the parties' mutual agreement, Vanguard may also perform additional ad-hoc recordkeeping services for your plan.
Any such additional services for your plan are described in the "Additional service fees" section of the All-in fee report or
in a separate writing as applicable (e.g., an engagement letter for additional services). For additional detail on




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Vanguard's recordkeeping services, please refer to the Vanguard Service Administration Manual located on the
Vanguard Plan Sponsor Bridge® at vanguard.com.
Investment management services — VFTC provides investment management services to the plan if the plan utilizes
Vanguard-managed collective trust or separate account investments (including Vanguard-managed stable value funds).
Participant advice services — To the extent authorized by the plan sponsor, Vanguard Advisers, Inc. (VAI) provides the
following participant advisory services to plan participants:
•Vanguard Personal Online Advisor (POA) (note that advisory services may be provided by Financial Engines for certain
pre-2006 arrangements, if stated in your agreement)
•Vanguard Managed Account Program (VMAP)
•Vanguard Financial Planning Services including The Vanguard Financial Plan (VFP) and Ask a CFP® Professional
In addition, if authorized by the plan sponsor, Vanguard National Trust Company (VNTC) provides discretionary
participant advisory services to plan participants through Vanguard's Asset Management Service TM (AMS).


Statement of Fiduciary Status
In general, recordkeeping, administrative and non-trustee custodial services provided by Vanguard are ministerial in
nature and, consistent with the Department of Labor Regulation section 2509.75-8, in such capacity Vanguard acts in a
nondiscretionary manner and does not act as a plan fiduciary. In the provision of the directed trustee services described
above, VFTC acts as a plan fiduciary as defined under ERISA section 3(21).
To the extent it provides investment management services as described above to the plan, VFTC acts as a plan
fiduciary as defined under ERISA section 3(21) and 3(38). To the extent participants utilize the participant advice
services described above, VAI or VNTC, as applicable, act as plan fiduciaries as defined under ERISA section 3(21) and
VAI acts as a registered investment advisor under the Investment Advisers Act of 1940. To the extent participants utilize
the POA service under a pre-2006 arrangement in which Financial Engines has agreed in writing to provide advisory
services, Financial Engines Advisors L.L.C. acts as a plan fiduciary under ERISA section 3(21) and as a registered
investment advisor under the Investment Advisers Act of 1940.


Float Disclosure
Vanguard maintains pooled or "omnibus" accounts to facilitate transactions for plans for which Vanguard provides
recordkeeping services. The pooled account holds contributions pending investment direction and distributions pending
redemption of a check. To the extent there are any earnings (i.e., "float") on the monies that accumulate in the pooled
account, the earnings are allocated proportionately among all of the Vanguard mutual funds in order to offset expenses
of the mutual funds. This cash management process ultimately lowers the expense ratios of the mutual funds, thereby
benefiting all fund shareholders, including plan participants.
To the extent Vanguard receives assets prior to Vanguard's determination that a trade request is in good order, the
potential earnings period begins on the date the contribution is received and ends on the date the contribution
instructions are received in good order. With respect to distributions pending redemption of a check, the potential
earnings period begins on the date the distribution check is written and ends on the date the check is presented for
payment or, if applicable, the date the funds attributable to the outstanding benefit check are moved to a plan forfeiture
account. The earnings rate is a rate that is based on the federal funds rate. Administrative procedures, outlined in the
Service Administration manual located on the Vanguard Bridge®, are in place to limit any potential float period.


Trade Processing and Reconciliation
Vanguard strives to ensure timely and accurate processing of all transactions. Although Vanguard seeks to avoid errors,
occasionally an error may occur when Vanguard processes a transaction on behalf of a plan participant. If a processing
error caused by Vanguard is identified, once Vanguard has obtained sufficient information to correct the error, Vanguard
promptly takes corrective action to put the plan and participants in a position financially equivalent to the position they
would have been if the error had not occurred.
Vanguard has procedures in place to reconcile all transactions on its recordkeeping systems, including corrective
transactions, to its plan trading accounts. If Vanguard determines that corrective action by Vanguard to fix a processing
error caused by Vanguard results in losses, Vanguard makes the plan and affected participants whole for the amount of
such losses. If gains occur as a result of any corrective action to adjust plan accounts on Vanguard's recordkeeping
system, such gains are retained by Vanguard and may be used to offset any losses resulting from corrections and this
reconciliation process.




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Gift and Entertainment Policy
Vanguard's Gift and Entertainment Policy (the "Policy") was adopted in accordance with applicable regulatory guidelines
and is intended to help employees make appropriate decisions that are consistent with the best interests of Vanguard
fund shareholders. It is Vanguard's policy that giving and receiving gifts and entertainment should never create or
appear to create a conflict of interest, interfere with the impartial fulfillment of our responsibilities to clients, create the
appearance of a reward, or place Vanguard in a difficult or compromising position. Vanguard employees are not
permitted to solicit gifts or entertainment, and extravagant or excessive entertaining is also prohibited. Vanguard has
carefully reviewed the gifts and entertainment received by its employees pursuant to the Policy. It has been determined
that under any reasonable method of allocation, the gifts and entertainment attributable to any plan are of insubstantial
value and, therefore, exempt from reporting on the Schedule C for the plan's Form 5500. Similarly, Vanguard does not
reasonably anticipate receiving non-monetary compensation associated with any plan in excess of $250 and,
accordingly, does not have reportable non-monetary compensation for purposes of ERISA section 408(b)(2).


Additional disclosures on investments under 29 CFR section 2550.404a-5(d)(1)
Vanguard is required to provide any information or data about the plan's designated investment alternatives that is
within the control of or reasonably available to Vanguard, and that is required for the plan to comply with its disclosure
obligations under the regulations at 29 CFR section 2550.404a-5(d)(1). Information about the plan's designated
investment alternatives is available on the investment chart contained on the plan's participant fee notice, which has
been distributed to you through the Vanguard Plan Sponsor Bridge at vanguard.com. For all mutual fund holdings,
information is also available in each fund prospectus and statement of additional information (SAI). For collective trust
investments, please review the investment's fund fact sheet and annual report. If applicable, outside fund information
was obtained from Lipper, Morningstar or the fund company and is only as current as the information supplied to those
entities by third parties. Vanguard makes no representation as to the completeness or accuracy of any data obtained
from any third party.
To assist plans with their disclosure obligations for participant fee disclosure, Vanguard has created a website for
additional investment information, which is listed on the first page of the participant fee disclosure notice, and is located
in the Fees and Expenses section of the Research Funds tab for each plan participant account. If you need assistance
locating this information, please contact your Vanguard relationship manager.




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Summary fee report
095768 NYU UNIVERSITY RETIREMENT PLAN FOR
                                                                                 Calculated as of June 30 2016
ADJUNCT FACULTY MEMBERS


Plan assets                Total all-in fees
$13,777,874                $21,137                                                                     0.15%


                           Asset-based fees by provider




                           Vanguard                                                                    $21,137


                           Non-Vanguard                                                                    $0


                       ■   Other Investments                                                               $0
   Vanguard funds
   $13,777,874


r Non-Vanguard funds
I
   $0                      Total fees by service


   Other investments
   $0
                           Asset-based fees net of recordkeeping                       0.11%           $14,487
                           Vanguard (less recordkeeping credit)                                        $14,487


Participant accounts       Non-Vanguard (less payment for recordkeeping)                                   $0
3,565
                           Other investments                                                               $0

                           Recordkeeping compensation by source                          0.05%          $6,650
                                Total direct compensation: Fee paid directly from plan                      $0
                                Total indirect compensation: Payment for recordkeeping from non-
                                Vanguard funds                                                              $0
                                Total recordkeeping compensation from plan sponsor                          $0
                                Vanguard current recordkeeping credit                                   $6,650


                           Additional fees                                                                 $0


                           Total all-in fees                                                           $21,137




                                                                                                        NYU0007194
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All-in fee report
408(b)(2) disclosure for 095768 NYU UNIVERSITY RETIREMENT PLAN
                                                                                                     Calculated as of June 30 2016
FOR ADJUNCT FACULTY MEMBERS

Vanguard fund asset-based fees

Fund Name                                            Assets    Expense ratio   Morningstar average        Current recordkeeping credit
Vanguard Target Retirement 2020 Fund              $1,990,520          0.14%                 0.43%                               0.04%
Vanguard Target Retirement 2015 Fund              $1,876,224          0.14%                 0.36%                               0.04%
Vanguard Target Retirement 2030 Fund              $1,763,301          0.15%                 0.43%                               0.05%
Vanguard Target Retirement 2025 Fund              $1,743,324          0.15%                 0.39%                               0.05%
Vanguard Target Retirement 2035 Fund              $1,314,232          0.15%                 0.39%                               0.05%
Vanguard Target Retirement 2010 Fund              $1,174,665          0.14%                 0.37%                               0.04%
Vanguard Target Retirement 2040 Fund               $974,252           0.16%                 0.43%                               0.06%
Vanguard Target Retirement Income Fund             $897,962           0.14%                 0.44%                               0.04%
Vanguard Target Retirement 2045 Fund               $755,184           0.16%                 0.40%                               0.06%
Vanguard Target Retirement 2050 Fund               $300,120           0.16%                 0.41%                               0.06%
Vanguard Prime Money Market Fund                    $96,872           0.16%                   N/A                               0.00%
Vanguard Institutional Index Fund Institutional
                                                    $60,241           0.04%                 1.02%                               0.00%
Shares
Vanguard Wellington Fund Investor Shares            $58,053           0.26%                 0.86%                               0.08%
Vanguard Health Care Fund Investor Shares           $52,506           0.36%                 1.32%                               0.05%
Vanguard Target Retirement 2055 Fund                $49,193           0.16%                 0.39%                               0.06%
Vanguard Inflation-Protected Securities Fund
                                                    $44,723           0.20%                 0.75%                               0.10%
Investor Shares
Vanguard Emerging Markets Stock Index Fund
                                                    $40,439           0.33%                 1.50%                               0.18%
Investor Shares
Vanguard Equity Income Fund Investor Shares         $36,291           0.26%                 1.08%                               0.09%
Vanguard Total Stock Market Index Fund
                                                    $34,505           0.04%                 1.02%                               0.00%
Institutional Shares
Vanguard Strategic Equity Fund                      $31,116           0.21%                 1.13%                               0.00%
Vanguard Total Bond Market Index Fund Investor
                                                    $30,157           0.16%                 0.79%                               0.10%
Shares
Vanguard Intermediate-Term Bond Index Fund
                                                    $29,736           0.16%                 0.79%                               0.07%
Investor Shares
Vanguard REIT Index Fund Investor Shares            $28,242           0.26%                 1.28%                               0.14%
Vanguard Windsor II Fund Investor Shares            $26,289           0.34%                 1.08%                               0.08%

Vanguard Small-Cap Index Fund Investor Shares       $24,831           0.20%                 1.22%                               0.12%

Vanguard Windsor Fund Investor Shares               $23,826           0.39%                 1.08%                               0.10%
Vanguard Dividend Growth Fund                       $21,176           0.33%                 1.02%                               0.00%

Vanguard Mid-Cap Index Fund Investor Shares         $21,160           0.20%                 1.13%                               0.12%

Vanguard PRIMECAP Fund Investor Shares              $18,590           0.40%                 1.16%                               0.06%
Vanguard Small-Cap Growth Index Fund Investor
                                                    $14,828           0.20%                 1.30%                               0.12%
Shares
Vanguard European Stock Index Fund Investor
                                                    $14,236           0.26%                 1.40%                               0.14%
Shares
Vanguard PRIMECAP Core Fund                         $13,185           0.47%                 1.16%                               0.00%
Vanguard High-Yield Corporate Fund Investor
                                                    $11,986           0.23%                 1.07%                               0.10%
Shares
Vanguard Long-Term Investment-Grade Fund
                                                    $11,249           0.21%                 0.88%                               0.09%
Investor Shares
Vanguard LifeStrategy Growth Fund                   $10,723           0.15%                 0.88%                               0.00%
Vanguard Growth Index Fund Investor Shares          $10,123           0.22%                 1.16%                               0.14%




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All-in fee report
408(b)(2) disclosure for 095768 NYU UNIVERSITY RETIREMENT PLAN
                                                                                      Calculated as of June 30 2016
FOR ADJUNCT FACULTY MEMBERS
Vanguard Extended Market Index Fund Investor
                                                        $9,338     0.22%     1.13%                            0.13%
Shares

Vanguard Balanced Index Fund Investor Shares            $9,276     0.22%     0.86%                            0.14%

Vanguard Energy Fund Investor Shares                    $9,096     0.37%     1.47%                            0.06%

Vanguard Capital Opportunity Fund Investor Shares       $8,829     0.45%     1.16%                            0.07%

Vanguard Short-Term Investment-Grade Fund
                                                        $8,219     0.20%     0.79%                            0.10%
Investor Shares
Vanguard Long-Term Bond Index Fund                      $8,195     0.16%     0.59%                            0.00%
Vanguard International Value Fund                       $7,729     0.46%     1.18%                            0.00%
Vanguard Long-Term Treasury Fund Investor
                                                        $7,559     0.20%     0.61%                            0.10%
Shares
Vanguard Value Index Fund Investor Shares               $7,522     0.22%     1.08%                            0.14%
Vanguard Global Equity Fund                             $7,182     0.57%     1.26%                            0.00%
Vanguard Capital Value Fund                             $6,615     0.50%     1.13%                            0.00%
Vanguard International Explorer Fund                    $6,466     0.42%     1.31%                            0.00%
Vanguard Precious Metals and Mining Fund                $5,995     0.35%     1.44%                            0.00%

Vanguard Wellesley Income Fund Investor Shares          $5,955     0.23%     0.81%                            0.07%

Vanguard Intermediate-Term Investment-Grade
                                                        $5,656     0.20%     0.88%                            0.10%
Fund Investor Shares
Vanguard Explorer Fund Investor Shares                  $5,498     0.49%     1.30%                            0.14%
Vanguard Total International Stock Index Fund
                                                        $5,239     0.19%     1.12%                            0.07%
Investor Shares
Vanguard International Growth Fund Investor
                                                        $5,063     0.47%     1.28%                            0.13%
Shares
Vanguard Mid-Cap Growth Fund                            $4,348     0.43%     1.27%                            0.00%
Vanguard STAR Fund                                      $4,226     0.34%     0.86%                            0.00%

Vanguard Pacific Stock Index Fund Investor Shares       $3,732     0.26%     1.35%                            0.14%

Vanguard Morgan Growth Fund Investor Shares             $3,661     0.40%     1.16%                            0.13%

Vanguard LifeStrategy Moderate Growth Fund              $3,494     0.14%     0.86%                            0.00%

Vanguard Small-Cap Value Index Fund                     $3,226     0.20%     1.33%                            0.12%
Vanguard U.S. Growth Fund Investor Shares               $2,995     0.47%     1.16%                            0.14%
Vanguard Short-Term Bond Index Fund Investor
                                                        $2,837     0.16%     0.79%                            0.07%
Shares

Vanguard LifeStrategy Conservative Growth Fund          $2,715     0.13%     0.81%                            0.00%

Vanguard Target Retirement 2060 Fund                    $2,650     0.16%     0.34%                            0.06%
Vanguard U.S. Value Fund                                $2,500     0.26%     1.08%                            0.00%
Vanguard Selected Value Fund                            $2,342     0.39%     1.18%                            0.00%
Vanguard Developed Markets Index Fund Investor
                                                        $1,996     0.20%     1.12%                            0.11%
Shares

Vanguard Growth and Income Fund Investor Shares         $1,917     0.34%     1.02%                            0.11%

Vanguard GNMA Fund Investor Shares                      $1,043     0.21%     0.89%                            0.10%
Vanguard Treasury Money Market Fund                       $356     0.09%       N/A                            0.00%
Vanguard Federal Money Market Fund                        $348     0.11%       N/A                            0.00%
Vanguard total                                      $13,777,874    0.15%     0.44%                            0.05%
Vanguard total asset-based fees                                   $21,137   $60,762                          $6,650




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All-in fee report
408(b)(2) disclosure for 095768 NYU UNIVERSITY RETIREMENT PLAN
                                                                                                                           Calculated as of June 30 2016
FOR ADJUNCT FACULTY MEMBERS




*The current recordkeeping payment is paid by the fund or fund company. Additional fees may be described below.




Recordkeeping fees
Fee description                                                                     Paid by                                                           Total fee
Annual Administrative Fee                                                      Plan sponsor                                    Included in Current Service Offer


Total recordkeeping compensation from plan sponsor                                                                                                           $0

Annual Recordkeeping Per All Participant (Paid By
                                                                                Participants                                   Included in Current Service Offer
Participant Fixed Per Capita)


Total direct compensation*                                                                                                                                   $0


Total indirect compensation (Current recordkeeping payment from non-                                                                                         $0
Vanguard funds)

Vanguard current recordkeeping credit                                                                                                                    $6,650
Total recordkeeping compensation                                                                                                                         $6,650


 Direct compensation includes fees paid out of the plan. Plan sponsors may pay appropriate fees from the plan forfeiture account if permitted in the plan
document.


Additional fees
Fee description                                                                                                 Paid by                                     Fee
Ad Hoc Reporting                                                                                           Plan sponsor                        As Agreed Upon
Additional Processing                                                                                      Plan sponsor                        As Agreed Upon
Client Requested Account Adjustments                                                                       Plan sponsor                        As Agreed Upon
Conversion - Asset Transfer                                                                                Plan sponsor                        As Agreed Upon
Conversion - Divisional Transfers                                                                          Plan sponsor                        As Agreed Upon
Conversion - Plan To Plan Transfers                                                                        Plan sponsor                        As Agreed Upon
Conversion - Start Up Plans                                                                                Plan sponsor                        As Agreed Upon
Mistake of Fact Processing                                                                                 Plan sponsor                                     $50
Participant Education Retirement Service                                                                   Plan sponsor                        As Agreed Upon

QDRO Processing (Paid By Participant Fixed Per Capita)                                                      Participants                                    $50
Return of Excess                                                                                           Plan sponsor                                     $50


Termination related compens      n*                                                                                                                    $15,000




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All-in fee report
408(b)(2) disclosure for 095768 NYU UNIVERSITY RETIREMENT PLAN
                                                                                                                     Calculated as of June 30 2016
FOR ADJUNCT FACULTY MEMBERS
*Vanguard charges a fee for the conversion services that it will perform to transfer a plan to a subsequent provider. The standard conversion services fee
above will apply unless otherwise outlined in the recordkeeping fee agreement. Early termination fees also outlined in your recordkeeping fee agreement may
apply if the arrangement is terminated in the first three years. Fees charged by Vanguard generally are billed in arrears. As such, plans are not charged
amounts to pre pay for services. If such arrangements are made with a plan, the calculation and refund of any such pre-paid amounts upon transfer or
termination of the plan is detailed in a separate agreement with the plan governing those services.'



All-in fee summary
Participant accounts                                                                                                                                 3,565
Vanguard total asset-based fees                                                                                                                   $21,137
Non-Vanguard total asset-based fees                                                                                                                     $0
Other investment total asset-based fees                                                                                                                 $0
Total direct compensation                                                                                                                               $0
Total recordkeeping compensation from plan sponsor                                                                                                      $0

Included additional fees                                                                                                                                $0
Other additional fees                                                                                                                             Variable
Total all-in fees                                                                                                                                 $21,137
Total assets                                                                                                                                  $13,777,874
Total expense ratio                                                                                                                                 0.15%




                                                                                                                                                   NYU0007198
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                                                               FOOTNOTES

This All-in fee report includes all fees, expenses and compensation Vanguard reasonably expects it, its affiliates or its subcontractors to
receive, and any compensation received by an outside fund company in the form of the outside fund's expense ratio as reported by a third
party to Vanguard. Any fees, expenses or compensation charged or received by another covered service provider to the plan is not included.

All investing is subject to risk. Investments in bond funds are subject to interest rate, credit and inflation risk. Foreign investing involves
additional risks including currency fluctuations and political uncertainty. The cost information presented on this analysis is from the best
available information on the date it was prepared and is subject to change. This information is subject to change based on our review of the
specifications associated with a particular client plan(s).
The Vanguard expense ratios, expressed as a percentage of the funds assets, have been restated to reflect expenses being deducted from
current fund assets, as of the most recent prospectus. If applicable, outside fund expense ratios were obtained from Lipper, Morningstar, or
the fund company and are only as current as the information supplied to these entities by third parties. Vanguard makes no representations
as to the completeness or accuracy of data obtained from third parties.

Asset data in this report may vary from previous reports or other sources due to subsequent plan activity.
All fund expense ratios are as reported in their prospectus. Because some funds invest in other investment companies, including business
development companies (BDCs), SEC rules require that these funds' reported expense ratios include the expenses of these other
investment companies (known as acquired fund fees and expenses or AFFE), though these are actually internal expenses of the BDCs, not
fees paid to Vanguard, and are not fund expenses that additionally reduce the return of these funds.
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content providers are responsible for any damages or losses arising from any use of this information. Past performance is no guarantee of
future results. The Morningstar Average is the category average expense ratio for all funds within the category peer group as assembled by
Morningstar, Inc.
The Vanguard Group (Vanguard) has partnered with Financial Engines Advisors L.L.C. (Financial Engines), an independent, federally
registered investment advisor that is not affiliated with Vanguard, to provide subadvisory services to the Vanguard Managed Account
Program (VMAPTM) and Personal Online Advisor (POA). Financial Engines does not sell investments or receive commissions for the
investments it recommends. Advisory services are provided by Vanguard Advisers, Inc. (VAI), a federally registered investment advisor and
an affiliate of Vanguard. For certain POA arrangements entered into before 2006, advisory services are not provided by VAI but rather by
Financial Engines, a federally registered investment advisor that is not affiliated with Vanguard. Please refer to your plan's separate VMAP
or POA agreement for additional information. Vanguard is owned by the Vanguard funds, which are distributed by Vanguard Marketing
Corporation, a registered broker-dealer affiliated with VAI and Vanguard. Neither Vanguard, Financial Engines, nor their respective affiliates
guarantee future results.
The Vanguard Financial Plan is provided by Vanguard Advisers, Inc., a registered investment advisor.
Vanguard Asset Management Services are provided by Vanguard National Trust Company, which is a federally chartered, limited-purpose
trust company operated under the supervision of the Office of the Comptroller of the Currency.

                                                                 APPENDIX

Recordkeeping disclosures
Methodology for Determining Recordkeeping Compensation
Several different sources of revenue comprise Vanguard's compensation for recordkeeping services provided to the plan. These include:
 •Direct compensation — These fees are deducted directly from participant accounts or plan assets.
 •Indirect compensation — Certain non-Vanguard investments (including mutual funds and collective trusts) pay Vanguard (or one of its
 affiliates) compensation for services provided to plan participants invested in such non-Vanguard investments ("market-based payments for
 distribution"). This compensation includes shareholder-servicing fees, subtransfer agency fees, distribution or 12b-1 fees, or account
 recordkeeping fees. These arrangements pay compensation for recordkeeping services that would otherwise be charged to the plan.


 •Vanguard fund current recordkeeping credit — In accordance with, and as required by, the regulation under 408(b)(2),
 Vanguard has determined that for all plan assets invested in certain Vanguard mutual funds, a credit shall be attributed
 for recordkeeping services provided by Vanguard to the plan. The attribution rate considers a number of factors
 including: non-Vanguard fund market-based payments for distribution, the relative difference between Vanguard
 expense ratios and those of other major fund companies, expense ratio differences between Vanguard's various share
 classes and trends in Vanguard fund expense ratios. Recordkeeping attribution rates for the Vanguard funds are
 reviewed by management on an on-going basis and are subject to change.
 •Recordkeeping compensation from plan sponsor — This compensation is not included in the calculation of direct
 compensation. These are fees that are billed directly to the plan sponsor and are not identified as intended to be paid
 from plan assets, however, fees the plan sponsor directs to be paid out of the forfeiture account and fees paid by the
 plan sponsor that are reimbursed by the plan are considered direct compensation.
In addition to the above, Vanguard may receive compensation for other services offered outside of the standard recordkeeping package,
which are billed to the plan or plan sponsor and disclosed separately.




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Compensation among related parties
Service providers must supply plan sponsors with a description of any compensation that will be paid to the service provider, an affiliate or a
subcontractor in connection with the services provided to the plan if such compensation is set on a transaction basis (e.g., commissions, soft
dollars, finder's fees, or other similar incentive compensation based on business placed or retained) or that will be charged directly against
the plan's investment and reflected in the net value of the investment (e.g., 12b-1 fees).
No such compensation has been or will be paid among Vanguard and any affiliate or subcontractor in connection with the services provided
to the plan.

Manner of receipt of compensation
Compensation received by Vanguard will be billed directly to the plan sponsor or paid directly from the covered plan's accounts or
investments as detailed herein. Certain additional or optional service fees are generally billed directly to the plan sponsor, but may be paid
by plan assets (e.g., from plan forfeitures) at the discretion and direction of the plan sponsor and in accordance with the plan document.


Additional disclosures
Description of services
Vanguard, its affiliates, and subcontractors provide the following core services to the plan:
Trustee services — If reflected in the plan's trust agreement, Vanguard Fiduciary Trust Company (VFTC) serves as directed trustee for the
plan.
Recordkeeping services — Vanguard's recordkeeping services to the plan include:
 •Basic account recordkeeping (e.g., demographic, source, investment and vesting records)
 •Multi-channel participant and plan sponsor access (e.g., phone, web, Vanguard Plan Sponsor Website)
 •Daily participant transaction accounting (e.g., purchases, redemptions, exchanges)
 •Payroll services (e.g., contribution and loan repayments)
 •Distribution services (e.g., hardships, in-service withdrawals, termination distributions)
 •Participant tax reporting services (e.g., IRS Form 1099-R)
 •Participant confirmations, statements and standard notices
 •Plan-level reporting and annual financial package (excluding IRS Form 5500)
 •Participant education (e.g., newsletters, web articles, standard communication materials)
 •Plan consulting (e.g., preapproved document services, operational compliance support)

At the parties' mutual agreement, Vanguard may also perform additional ad-hoc recordkeeping services for your plan. Any such additional
services for your plan are described in the "Additional service fees" section of the All-in fee report or in a separate writing as applicable (e.g.,
an engagement letter for additional services). For additional detail on Vanguard's recordkeeping services, please refer to the Vanguard
Service Administration Manual located on the Vanguard Plan Sponsor Website at vanguard.com.


Investment management services — VFTC provides investment management services to the plan if the plan utilizes
Vanguard-managed collective trust or separate account investments (including Vanguard-managed stable value funds).


Participant advice services — To the extent authorized by the plan sponsor, Vanguard Advisers, Inc. (VAI) provides the
following participant advisory services to plan participants:
 •Vanguard Personal Online Advisor (POA) (note that advisory services may be provided by Financial Engines for certain
 pre-2006 arrangements, if stated in your agreement)
 •Vanguard Managed Account Program (VMAP)
 •Vanguard Financial Planning Services including The Vanguard Financial Plan (VFP) and Ask a CFP® Professional
In addition, if authorized by the plan sponsor, Vanguard National Trust Company (VNTC) provides discretionary participant advisory services
to plan participants through Vanguard's Asset Management Service TM (AMS).

Statement of Fiduciary Status
In general, recordkeeping, administrative and non-trustee custodial services provided by Vanguard are ministerial in nature and, consistent
with the Department of Labor Regulation section 2509.75-8, in such capacity Vanguard acts in a nondiscretionary manner and does not act
as a plan fiduciary. In the provision of the directed trustee services described above, VFTC acts as a plan fiduciary as defined under ERISA
section 3(21).
To the extent it provides investment management services as described above to the plan, VFTC acts as a plan fiduciary as defined under
ERISA section 3(21) and 3(38). To the extent participants utilize the participant advice services described above, VAI or VNTC, as
applicable, act as plan fiduciaries as defined under ERISA section 3(21) and VAI acts as a registered investment advisor under the
Investment Advisers Act of 1940. To the extent participants utilize the POA service under a pre-2006 arrangement in which Financial
Engines has agreed in writing to provide advisory services, Financial Engines Advisors L.L.C. acts as a plan fiduciary under ERISA section
3(21) and as a registered investment advisor under the Investment Advisers Act of 1940.




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Float disclosure
Vanguard maintains pooled or "omnibus" accounts to facilitate transactions for plans for which Vanguard provides recordkeeping services.
The pooled account holds contributions (examples include, but are not limited to rollovers, loan repyaments, and plan-wide contributions)
pending investment direction, completion of processing, and distributions pending redemption of a check. To the extent there are any
earnings (i.e., "float") on the monies that accumulate in the pooled account, the earnings are allocated proportionately among all of the
Vanguard mutual funds in order to offset expenses
of the mutual funds. This cash management process ultimately lowers the expense ratios of the mutual funds, thereby benefiting all fund
To the extent Vanguard receives assets prior to Vanguard's determination that a trade request is in good order, the potential earnings period
begins on the date the contribution is received and ends on the date the contribution instructions are received in good order. With respect to
distributions pending redemption of a check, the potential earnings period begins on the date the distribution check is written and ends on
the date the check is presented for payment or otherwise resolved, including, if applicable, the date the funds attributable to the outstanding
benefit check are moved to a plan forfeiture account. The earnings rate is a rate that is based on the federal funds rate. Administrative
procedures, outlined in the Service Administration manual are located on the Vanguard Plan Sponsor Website, are in place to limit any
potential float period.

Trade Processing and Reconciliation
Vanguard strives to ensure timely and accurate processing of all transactions. Although Vanguard seeks to avoid errors, occasionally an
error may occur when Vanguard processes a transaction on behalf of a plan participant. If a processing error caused by Vanguard is
identified, once Vanguard has obtained sufficient information to correct the error, Vanguard promptly takes corrective action to put the plan
and participants in a position financially equivalent to the position they would have been if the error had not occurred.

Vanguard has procedures in place to reconcile all transactions on its recordkeeping systems, including corrective transactions, to its plan
trading accounts. If Vanguard determines that corrective action by Vanguard to fix a processing error caused by Vanguard results in losses,
Vanguard makes the plan and affected participants whole for the amount of such losses. If gains occur as a result of any corrective action to
adjust plan accounts on Vanguard's recordkeeping system, such gains are retained by Vanguard and may be used to offset any losses
resulting from corrections and this reconciliation process.

Gift and Entertainment Policy
Vanguard's Gift and Entertainment Policy (the "Policy") was adopted in accordance with applicable regulatory guidelines and is intended to
help employees make appropriate decisions that are consistent with the best interests of Vanguard fund shareholders. It is Vanguard's
policy that giving and receiving gifts and entertainment should never create or appear to create a conflict of interest, interfere with the
impartial fulfillment of our responsibilities to clients, create the appearance of a reward, or place Vanguard in a difficult or compromising
position. Vanguard employees are not permitted to solicit gifts or entertainment, and extravagant or excessive entertaining is also prohibited.
Vanguard has carefully reviewed the gifts and entertainment received by its employees pursuant to the Policy. It has been determined that
under any reasonable method of allocation, the gifts and entertainment attributable to any plan are of insubstantial value and, therefore,
exempt from reporting on the Schedule C for the plan's Form 5500.



Similarly, Vanguard does not reasonably anticipate receiving non-monetary compensation associated with any plan in excess of $250 and,
accordingly, does not have reportable non-monetary compensation for purposes of ERISA section 408(b)(2).

Additional disclosures on investments under 29 CFR section 2550.404a-5(d)(1)
Vanguard is required to provide any information or data about the plan's designated investment alternatives that is within the control of or
reasonably available to Vanguard, and that is required for the plan to comply with its disclosure obligations under the regulations at 29 CFR
section 2550.404a-5(d)(1). Information about the plan's designated investment alternatives is available on the investment chart contained on
the plan's participant fee notice, which has been distributed to you through the Vanguard Plan Sponsor Website at vanguard.com. For all
mutual fund holdings, information is also available in each fund prospectus and statement of additional information (SAI). For collective trust
investments, please review the investment's fund fact sheet and annual report. If applicable, outside fund information was obtained from
Lipper, Morningstar or the fund company and is only as current as the information supplied to those entities by third parties. Vanguard
makes no representation as to the completeness or accuracy of any data obtained from any third party.


To assist plans with their disclosure obligations for participant fee disclosure, Vanguard has created a website for additional investment
information, which is listed on the first page of the participant fee disclosure notice, and is located in the Fees and Expenses section of the
Research Funds tab for each plan participant account. If you need assistance locating this information, please contact your Vanguard
relationship manager.




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Summary fee report
090789 NEW YORK UNIVERSITY Supplemental Plan                                     Calculated as of June 30 2016


Plan assets                Total all-in fees
$262,823,905               $599,526                                                                    0.23%


                           Asset-based fees by provider

                                                                                                            1

                           Vanguard                                                                   $599,526


                           Non-Vanguard                                                                    $0


                       ■   Other Investments                                                               $0
   Vanguard funds
   $262,823,905


r Non-Vanguard funds
I
   $0                      Total fees by service

   Other investments
   $0
                           Asset-based fees net of recordkeeping                       0.17%          $436,857
                           Vanguard (less recordkeeping credit)                                       $436,857


Participant accounts       Non-Vanguard (less payment for recordkeeping)                                   $0
10,327
                           Other investments                                                               $0

                           Recordkeeping compensation by source                          0.06%        $162,669
                                Total direct compensation: Fee paid directly from plan                      $0
                                Total indirect compensation: Payment for recordkeeping from non-
                                Vanguard funds                                                              $0
                                Total recordkeeping compensation from plan sponsor                          $0
                                Vanguard current recordkeeping credit                                 $162,669


                           Additional fees                                                                 $0


                           Total all-in fees                                                          $599,526




                                                                                                        NYU0007202
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All-in fee report
408(b)(2) disclosure for 090789 NEW YORK UNIVERSITY Supplemental
                                                                                                        Calculated as of June 30 2016
Plan

Vanguard fund asset-based fees

Fund Name                                               Assets    Expense ratio   Morningstar average        Current recordkeeping credit

Vanguard Balanced Index Fund Investor Shares         $3,847,632          0.22%                 0.86%                               0.14%

Vanguard Capital Opportunity Fund Investor Shares    $6,480,234          0.45%                 1.16%                               0.07%

Vanguard Capital Value Fund                           $399,226           0.50%                 1.13%                               0.00%
Vanguard Convertible Securities Fund                  $500,299           0.38%                 1.28%                               0.00%
Vanguard Developed Markets Index Fund Investor
                                                     $1,022,810          0.20%                 1.12%                               0.11%
Shares
Vanguard Dividend Growth Fund                        $3,002,087          0.33%                 1.02%                               0.00%
Vanguard Emerging Markets Stock Index Fund
                                                     $2,854,010          0.33%                 1.50%                               0.18%
Investor Shares
Vanguard Energy Fund Investor Shares                 $1,643,670          0.37%                 1.47%                               0.06%
Vanguard Equity Income Fund Investor Shares          $3,152,429          0.26%                 1.08%                               0.09%
Vanguard European Stock Index Fund Investor
                                                      $810,196           0.26%                 1.40%                               0.14%
Shares
Vanguard Explorer Fund Investor Shares               $2,986,220          0.49%                 1.30%                               0.14%
Vanguard Extended Market Index Fund Investor
                                                     $1,389,793          0.22%                 1.13%                               0.13%
Shares
Vanguard Federal Money Market Fund                    $602,405           0.11%                   N/A                               0.00%

Vanguard FTSE Social Index Fund Investor Shares       $420,690           0.25%                 1.02%                               0.00%

Vanguard Global Equity Fund                          $1,604,265          0.57%                 1.26%                               0.00%
Vanguard GNMA Fund Investor Shares                   $1,845,990          0.21%                 0.89%                               0.10%

Vanguard Growth and Income Fund Investor Shares      $2,697,398          0.34%                 1.02%                               0.11%

Vanguard Growth Index Fund Investor Shares           $3,683,880          0.22%                 1.16%                               0.14%
Vanguard Health Care Fund Investor Shares            $3,435,962          0.36%                 1.32%                               0.05%
Vanguard High-Yield Corporate Fund Investor
                                                     $1,997,068          0.23%                 1.07%                               0.10%
Shares
Vanguard Inflation-Protected Securities Fund
                                                     $3,120,534          0.20%                 0.75%                               0.10%
Investor Shares
Vanguard Institutional Index Fund Institutional
                                                    $23,368,032          0.04%                 1.02%                               0.00%
Shares
Vanguard Intermediate-Term Bond Index Fund
                                                     $1,614,968          0.16%                 0.79%                               0.07%
Investor Shares
Vanguard Intermediate-Term Investment-Grade
                                                     $1,294,317          0.20%                 0.88%                               0.10%
Fund Investor Shares
Vanguard Intermediate-Term Treasury Fund
                                                     $1,153,150          0.20%                 0.89%                               0.10%
Investor Shares
Vanguard International Explorer Fund                 $1,706,007          0.42%                 1.31%                               0.00%
Vanguard International Growth Fund Investor
                                                     $4,432,740          0.47%                 1.28%                               0.13%
Shares
Vanguard International Value Fund                    $1,223,494          0.46%                 1.18%                               0.00%

Vanguard LifeStrategy Conservative Growth Fund       $1,769,604          0.13%                 0.81%                               0.00%

Vanguard LifeStrategy Growth Fund                    $2,694,087          0.15%                 0.88%                               0.00%
Vanguard LifeStrategy Income Fund                     $415,243           0.12%                 0.69%                               0.00%

Vanguard LifeStrategy Moderate Growth Fund           $2,077,019          0.14%                 0.86%                               0.00%

Vanguard Long-Term Bond Index Fund                   $1,175,037          0.16%                 0.59%                               0.00%




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All-in fee report
408(b)(2) disclosure for 090789 NEW YORK UNIVERSITY Supplemental
                                                                                  Calculated as of June 30 2016
Plan
Vanguard Long-Term Investment-Grade Fund
                                                     $2,563,410   0.21%   0.88%                           0.09%
Investor Shares
Vanguard Long-Term Treasury Fund Investor
                                                     $2,787,949   0.20%   0.61%                           0.10%
Shares
Vanguard Mid-Cap Growth Fund                         $1,264,205   0.43%   1.27%                           0.00%

Vanguard Mid-Cap Index Fund Investor Shares          $3,027,156   0.20%   1.13%                           0.12%

Vanguard Morgan Growth Fund Investor Shares          $3,274,379   0.40%   1.16%                           0.13%

Vanguard Pacific Stock Index Fund Investor Shares     $422,491    0.26%   1.35%                           0.14%

Vanguard Precious Metals and Mining Fund             $1,069,833   0.35%   1.44%                           0.00%
Vanguard Prime Money Market Fund                     $9,751,802   0.16%     N/A                           0.00%
Vanguard PRIMECAP Core Fund                           $851,971    0.47%   1.16%                           0.00%
Vanguard PRIMECAP Fund Investor Shares              $12,144,139   0.40%   1.16%                           0.06%
Vanguard REIT Index Fund Investor Shares             $4,227,397   0.26%   1.28%                           0.14%
Vanguard Selected Value Fund                         $1,507,628   0.39%   1.18%                           0.00%
Vanguard Short-Term Bond Index Fund Investor
                                                     $1,437,716   0.16%   0.79%                           0.07%
Shares

Vanguard Short-Term Federal Fund Investor Shares      $370,450    0.20%   0.80%                           0.10%

Vanguard Short-Term Investment-Grade Fund
                                                     $2,085,578   0.20%   0.79%                           0.10%
Investor Shares
Vanguard Short-Term Treasury Fund Investor
                                                     $1,318,661   0.20%   0.80%                           0.10%
Shares
Vanguard Small-Cap Growth Index Fund Investor
                                                     $1,165,419   0.20%   1.30%                           0.12%
Shares

Vanguard Small-Cap Index Fund Investor Shares        $1,793,250   0.20%   1.22%                           0.12%

Vanguard Small-Cap Value Index Fund                  $2,143,379   0.20%   1.33%                           0.12%
Vanguard STAR Fund                                   $2,161,300   0.34%   0.86%                           0.00%
Vanguard Strategic Equity Fund                       $2,924,989   0.21%   1.13%                           0.00%
Vanguard Target Retirement 2010 Fund                  $762,235    0.14%   0.37%                           0.04%
Vanguard Target Retirement 2015 Fund                 $4,674,222   0.14%   0.36%                           0.04%
Vanguard Target Retirement 2020 Fund                 $4,597,523   0.14%   0.43%                           0.04%
Vanguard Target Retirement 2025 Fund                 $9,357,332   0.15%   0.39%                           0.05%
Vanguard Target Retirement 2030 Fund                 $5,788,877   0.15%   0.43%                           0.05%
Vanguard Target Retirement 2035 Fund                 $6,581,715   0.15%   0.39%                           0.05%
Vanguard Target Retirement 2040 Fund                 $6,511,877   0.16%   0.43%                           0.06%
Vanguard Target Retirement 2045 Fund                 $6,345,866   0.16%   0.40%                           0.06%
Vanguard Target Retirement 2050 Fund                 $3,513,790   0.16%   0.41%                           0.06%
Vanguard Target Retirement 2055 Fund                 $1,048,273   0.16%   0.39%                           0.06%
Vanguard Target Retirement 2060 Fund                  $436,694    0.16%   0.34%                           0.06%
Vanguard Target Retirement Income Fund               $1,173,555   0.14%   0.44%                           0.04%
Vanguard Total Bond Market Index Fund Investor
                                                     $9,330,693   0.16%   0.79%                           0.10%
Shares
Vanguard Total International Stock Index Fund
                                                     $3,498,010   0.19%   1.12%                           0.07%
Investor Shares
Vanguard Total Stock Market Index Fund
                                                    $12,753,699   0.04%   1.02%                           0.00%
Institutional Shares
Vanguard Treasury Money Market Fund                   $545,654    0.09%     N/A                           0.00%
Vanguard U.S. Growth Fund Investor Shares            $3,146,298   0.47%   1.16%                           0.14%
Vanguard U.S. Value Fund                              $635,056    0.26%   1.08%                           0.00%




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All-in fee report
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                                                                                                                          Calculated as of June 30 2016
Plan
Vanguard Value Index Fund Investor Shares                     $1,307,304              0.22%                       1.08%                                     0.14%

Vanguard Wellesley Income Fund Investor Shares                $3,884,056              0.23%                       0.81%                                     0.07%

Vanguard Wellington Fund Investor Shares                      $9,731,836              0.26%                       0.86%                                     0.08%
Vanguard Windsor Fund Investor Shares                        $11,698,191              0.39%                       1.08%                                     0.10%
Vanguard Windsor II Fund Investor Shares                      $6,787,554              0.34%                       1.08%                                     0.08%
Vanguard total                                              $262,823,905              0.23%                       0.92%                                     0.06%
Vanguard total asset-based fees                                                    $599,526                  $2,311,787                               $162,669




*The current recordkeeping payment is paid by the fund or fund company. Additional fees may be described below.




Record keeping fees
Fee description                                                                     Paid by                                                           Total fee
Annual Administrative Fee                                                      Plan sponsor                                   Included in Current Service Offer


Total recordkeeping compensation from plan sponsor                                                                                                             $0

Annual Recordkeeping Per All Participant (Paid By
                                                                                Participants                                  Included in Current Service Offer
Participant Fixed Per Capita)


Total direct compensation*                                                                                                                                     $0

Total indirect compensation (Current recordkeeping payment from non-                                                                                           $0
Vanguard funds)

Vanguard current recordkeeping credit                                                                                                                 $162,669
Total recordkeeping compensation                                                                                                                      $162,669


*Direct compensation includes fees paid out of the plan. Plan sponsors may pay appropriate fees from the plan forfeiture account if permitted in the plan
document.


Additional fees
Fee description                                                                                                 Paid by                                      Fee
Ad Hoc Reporting                                                                                           Plan sponsor                        As Agreed Upon
Additional Processing                                                                                      Plan sponsor                        As Agreed Upon
Beneficiary Determination Service                                                                          Plan sponsor       Included in Current Service Offer
Client Requested Account Adjustments                                                                       Plan sponsor                        As Agreed Upon
Conversion - Asset Transfer                                                                                Plan sponsor                        As Agreed Upon
Conversion - Divisional Transfers                                                                          Plan sponsor                        As Agreed Upon
Conversion - Plan To Plan Transfers                                                                        Plan sponsor                        As Agreed Upon
Conversion - Start Up Plans                                                                                Plan sponsor                        As Agreed Upon
Mistake of Fact Processing                                                                                 Plan sponsor                                       $50
Participant Education Retirement Service                                                                   Plan sponsor                        As Agreed Upon




                                                                                                                                                        NYU0007205
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All-in fee report
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                                                                                                                        Calculated as of June 30 2016
Plan
QDRO Processing (Paid By Participant Fixed Per Capita)                                                   Participants                                  $50

Return of Excess                                                                                        Plan sponsor                                   $50


Termination related compensation*                                                                                                                 $15,000

*Vanguard charges a fee for the conversion services that it will perform to transfer a plan to a subsequent provider. The standard conversion services fee
above will apply unless otherwise outlined in the recordkeeping fee agreement. Early termination fees also outlined in your recordkeeping fee agreement may
apply if the arrangement is terminated in the first three years. Fees charged by Vanguard generally are billed in arrears. As such, plans are not charged
amounts to pre pay for services. If such arrangements are made with a plan, the calculation and refund of any such pre-paid amounts upon transfer or
termination of the plan is detailed in a separate agreement with the plan governing those services.'



All-in fee summary
Participant accounts                                                                                                                                10,327
Vanguard total asset-based fees                                                                                                                  $599,526
Non-Vanguard total asset-based fees                                                                                                                     $0
Other investment total asset-based fees                                                                                                                 $0
Total direct compensation                                                                                                                               $0
Total recordkeeping compensation from plan sponsor                                                                                                      $0

Included additional fees                                                                                                                                $0
Other additional fees                                                                                                                             Variable
Total all-in fees                                                                                                                                $599,526
Total assets                                                                                                                                 $262,823,905
Total expense ratio                                                                                                                                 0.23%




                                                                                                                                                   NYU0007206
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                                                               FOOTNOTES

This All-in fee report includes all fees, expenses and compensation Vanguard reasonably expects it, its affiliates or its subcontractors to
receive, and any compensation received by an outside fund company in the form of the outside fund's expense ratio as reported by a third
party to Vanguard. Any fees, expenses or compensation charged or received by another covered service provider to the plan is not included.

All investing is subject to risk. Investments in bond funds are subject to interest rate, credit and inflation risk. Foreign investing involves
additional risks including currency fluctuations and political uncertainty. The cost information presented on this analysis is from the best
available information on the date it was prepared and is subject to change. This information is subject to change based on our review of the
specifications associated with a particular client plan(s).
The Vanguard expense ratios, expressed as a percentage of the funds assets, have been restated to reflect expenses being deducted from
current fund assets, as of the most recent prospectus. If applicable, outside fund expense ratios were obtained from Lipper, Morningstar, or
the fund company and are only as current as the information supplied to these entities by third parties. Vanguard makes no representations
as to the completeness or accuracy of data obtained from third parties.

Asset data in this report may vary from previous reports or other sources due to subsequent plan activity.
All fund expense ratios are as reported in their prospectus. Because some funds invest in other investment companies, including business
development companies (BDCs), SEC rules require that these funds' reported expense ratios include the expenses of these other
investment companies (known as acquired fund fees and expenses or AFFE), though these are actually internal expenses of the BDCs, not
fees paid to Vanguard, and are not fund expenses that additionally reduce the return of these funds.
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content providers are responsible for any damages or losses arising from any use of this information. Past performance is no guarantee of
future results. The Morningstar Average is the category average expense ratio for all funds within the category peer group as assembled by
Morningstar, Inc.
The Vanguard Group (Vanguard) has partnered with Financial Engines Advisors L.L.C. (Financial Engines), an independent, federally
registered investment advisor that is not affiliated with Vanguard, to provide subadvisory services to the Vanguard Managed Account
Program (VMAPTM) and Personal Online Advisor (POA). Financial Engines does not sell investments or receive commissions for the
investments it recommends. Advisory services are provided by Vanguard Advisers, Inc. (VAI), a federally registered investment advisor and
an affiliate of Vanguard. For certain POA arrangements entered into before 2006, advisory services are not provided by VAI but rather by
Financial Engines, a federally registered investment advisor that is not affiliated with Vanguard. Please refer to your plan's separate VMAP
or POA agreement for additional information. Vanguard is owned by the Vanguard funds, which are distributed by Vanguard Marketing
Corporation, a registered broker-dealer affiliated with VAI and Vanguard. Neither Vanguard, Financial Engines, nor their respective affiliates
guarantee future results.
The Vanguard Financial Plan is provided by Vanguard Advisers, Inc., a registered investment advisor.
Vanguard Asset Management Services are provided by Vanguard National Trust Company, which is a federally chartered, limited-purpose
trust company operated under the supervision of the Office of the Comptroller of the Currency.

                                                                 APPENDIX

Recordkeeping disclosures
Methodology for Determining Recordkeeping Compensation
Several different sources of revenue comprise Vanguard's compensation for recordkeeping services provided to the plan. These include:
 •Direct compensation — These fees are deducted directly from participant accounts or plan assets.
 •Indirect compensation — Certain non-Vanguard investments (including mutual funds and collective trusts) pay Vanguard (or one of its
 affiliates) compensation for services provided to plan participants invested in such non-Vanguard investments ("market-based payments for
 distribution"). This compensation includes shareholder-servicing fees, subtransfer agency fees, distribution or 12b-1 fees, or account
 recordkeeping fees. These arrangements pay compensation for recordkeeping services that would otherwise be charged to the plan.


 •Vanguard fund current recordkeeping credit — In accordance with, and as required by, the regulation under 408(b)(2),
 Vanguard has determined that for all plan assets invested in certain Vanguard mutual funds, a credit shall be attributed
 for recordkeeping services provided by Vanguard to the plan. The attribution rate considers a number of factors
 including: non-Vanguard fund market-based payments for distribution, the relative difference between Vanguard
 expense ratios and those of other major fund companies, expense ratio differences between Vanguard's various share
 classes and trends in Vanguard fund expense ratios. Recordkeeping attribution rates for the Vanguard funds are
 reviewed by management on an on-going basis and are subject to change.
 •Recordkeeping compensation from plan sponsor — This compensation is not included in the calculation of direct
 compensation. These are fees that are billed directly to the plan sponsor and are not identified as intended to be paid
 from plan assets, however, fees the plan sponsor directs to be paid out of the forfeiture account and fees paid by the
 plan sponsor that are reimbursed by the plan are considered direct compensation.
In addition to the above, Vanguard may receive compensation for other services offered outside of the standard recordkeeping package,
which are billed to the plan or plan sponsor and disclosed separately.




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Compensation among related parties
Service providers must supply plan sponsors with a description of any compensation that will be paid to the service provider, an affiliate or a
subcontractor in connection with the services provided to the plan if such compensation is set on a transaction basis (e.g., commissions, soft
dollars, finder's fees, or other similar incentive compensation based on business placed or retained) or that will be charged directly against
the plan's investment and reflected in the net value of the investment (e.g., 12b-1 fees).
No such compensation has been or will be paid among Vanguard and any affiliate or subcontractor in connection with the services provided
to the plan.

Manner of receipt of compensation
Compensation received by Vanguard will be billed directly to the plan sponsor or paid directly from the covered plan's accounts or
investments as detailed herein. Certain additional or optional service fees are generally billed directly to the plan sponsor, but may be paid
by plan assets (e.g., from plan forfeitures) at the discretion and direction of the plan sponsor and in accordance with the plan document.


Additional disclosures
Description of services
Vanguard, its affiliates, and subcontractors provide the following core services to the plan:
Trustee services — If reflected in the plan's trust agreement, Vanguard Fiduciary Trust Company (VFTC) serves as directed trustee for the
plan.
Recordkeeping services — Vanguard's recordkeeping services to the plan include:
 •Basic account recordkeeping (e.g., demographic, source, investment and vesting records)
 •Multi-channel participant and plan sponsor access (e.g., phone, web, Vanguard Plan Sponsor Website)
 •Daily participant transaction accounting (e.g., purchases, redemptions, exchanges)
 •Payroll services (e.g., contribution and loan repayments)
 •Distribution services (e.g., hardships, in-service withdrawals, termination distributions)
 •Participant tax reporting services (e.g., IRS Form 1099-R)
 •Participant confirmations, statements and standard notices
 •Plan-level reporting and annual financial package (excluding IRS Form 5500)
 •Participant education (e.g., newsletters, web articles, standard communication materials)
 •Plan consulting (e.g., preapproved document services, operational compliance support)

At the parties' mutual agreement, Vanguard may also perform additional ad-hoc recordkeeping services for your plan. Any such additional
services for your plan are described in the "Additional service fees" section of the All-in fee report or in a separate writing as applicable (e.g.,
an engagement letter for additional services). For additional detail on Vanguard's recordkeeping services, please refer to the Vanguard
Service Administration Manual located on the Vanguard Plan Sponsor Website at vanguard.com.


Investment management services — VFTC provides investment management services to the plan if the plan utilizes
Vanguard-managed collective trust or separate account investments (including Vanguard-managed stable value funds).


Participant advice services — To the extent authorized by the plan sponsor, Vanguard Advisers, Inc. (VAI) provides the
following participant advisory services to plan participants:
 •Vanguard Personal Online Advisor (POA) (note that advisory services may be provided by Financial Engines for certain
 pre-2006 arrangements, if stated in your agreement)
 •Vanguard Managed Account Program (VMAP)
 •Vanguard Financial Planning Services including The Vanguard Financial Plan (VFP) and Ask a CFP® Professional
In addition, if authorized by the plan sponsor, Vanguard National Trust Company (VNTC) provides discretionary participant advisory services
to plan participants through Vanguard's Asset Management Service TM (AMS).

Statement of Fiduciary Status
In general, recordkeeping, administrative and non-trustee custodial services provided by Vanguard are ministerial in nature and, consistent
with the Department of Labor Regulation section 2509.75-8, in such capacity Vanguard acts in a nondiscretionary manner and does not act
as a plan fiduciary. In the provision of the directed trustee services described above, VFTC acts as a plan fiduciary as defined under ERISA
section 3(21).
To the extent it provides investment management services as described above to the plan, VFTC acts as a plan fiduciary as defined under
ERISA section 3(21) and 3(38). To the extent participants utilize the participant advice services described above, VAI or VNTC, as
applicable, act as plan fiduciaries as defined under ERISA section 3(21) and VAI acts as a registered investment advisor under the
Investment Advisers Act of 1940. To the extent participants utilize the POA service under a pre-2006 arrangement in which Financial
Engines has agreed in writing to provide advisory services, Financial Engines Advisors L.L.C. acts as a plan fiduciary under ERISA section
3(21) and as a registered investment advisor under the Investment Advisers Act of 1940.




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Float disclosure
Vanguard maintains pooled or "omnibus" accounts to facilitate transactions for plans for which Vanguard provides recordkeeping services.
The pooled account holds contributions (examples include, but are not limited to rollovers, loan repyaments, and plan-wide contributions)
pending investment direction, completion of processing, and distributions pending redemption of a check. To the extent there are any
earnings (i.e., "float") on the monies that accumulate in the pooled account, the earnings are allocated proportionately among all of the
Vanguard mutual funds in order to offset expenses
of the mutual funds. This cash management process ultimately lowers the expense ratios of the mutual funds, thereby benefiting all fund
To the extent Vanguard receives assets prior to Vanguard's determination that a trade request is in good order, the potential earnings period
begins on the date the contribution is received and ends on the date the contribution instructions are received in good order. With respect to
distributions pending redemption of a check, the potential earnings period begins on the date the distribution check is written and ends on
the date the check is presented for payment or otherwise resolved, including, if applicable, the date the funds attributable to the outstanding
benefit check are moved to a plan forfeiture account. The earnings rate is a rate that is based on the federal funds rate. Administrative
procedures, outlined in the Service Administration manual are located on the Vanguard Plan Sponsor Website, are in place to limit any
potential float period.

Trade Processing and Reconciliation
Vanguard strives to ensure timely and accurate processing of all transactions. Although Vanguard seeks to avoid errors, occasionally an
error may occur when Vanguard processes a transaction on behalf of a plan participant. If a processing error caused by Vanguard is
identified, once Vanguard has obtained sufficient information to correct the error, Vanguard promptly takes corrective action to put the plan
and participants in a position financially equivalent to the position they would have been if the error had not occurred.

Vanguard has procedures in place to reconcile all transactions on its recordkeeping systems, including corrective transactions, to its plan
trading accounts. If Vanguard determines that corrective action by Vanguard to fix a processing error caused by Vanguard results in losses,
Vanguard makes the plan and affected participants whole for the amount of such losses. If gains occur as a result of any corrective action to
adjust plan accounts on Vanguard's recordkeeping system, such gains are retained by Vanguard and may be used to offset any losses
resulting from corrections and this reconciliation process.

Gift and Entertainment Policy
Vanguard's Gift and Entertainment Policy (the "Policy") was adopted in accordance with applicable regulatory guidelines and is intended to
help employees make appropriate decisions that are consistent with the best interests of Vanguard fund shareholders. It is Vanguard's
policy that giving and receiving gifts and entertainment should never create or appear to create a conflict of interest, interfere with the
impartial fulfillment of our responsibilities to clients, create the appearance of a reward, or place Vanguard in a difficult or compromising
position. Vanguard employees are not permitted to solicit gifts or entertainment, and extravagant or excessive entertaining is also prohibited.
Vanguard has carefully reviewed the gifts and entertainment received by its employees pursuant to the Policy. It has been determined that
under any reasonable method of allocation, the gifts and entertainment attributable to any plan are of insubstantial value and, therefore,
exempt from reporting on the Schedule C for the plan's Form 5500.



Similarly, Vanguard does not reasonably anticipate receiving non-monetary compensation associated with any plan in excess of $250 and,
accordingly, does not have reportable non-monetary compensation for purposes of ERISA section 408(b)(2).

Additional disclosures on investments under 29 CFR section 2550.404a-5(d)(1)
Vanguard is required to provide any information or data about the plan's designated investment alternatives that is within the control of or
reasonably available to Vanguard, and that is required for the plan to comply with its disclosure obligations under the regulations at 29 CFR
section 2550.404a-5(d)(1). Information about the plan's designated investment alternatives is available on the investment chart contained on
the plan's participant fee notice, which has been distributed to you through the Vanguard Plan Sponsor Website at vanguard.com. For all
mutual fund holdings, information is also available in each fund prospectus and statement of additional information (SAI). For collective trust
investments, please review the investment's fund fact sheet and annual report. If applicable, outside fund information was obtained from
Lipper, Morningstar or the fund company and is only as current as the information supplied to those entities by third parties. Vanguard
makes no representation as to the completeness or accuracy of any data obtained from any third party.


To assist plans with their disclosure obligations for participant fee disclosure, Vanguard has created a website for additional investment
information, which is listed on the first page of the participant fee disclosure notice, and is located in the Fees and Expenses section of the
Research Funds tab for each plan participant account. If you need assistance locating this information, please contact your Vanguard
relationship manager.




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Summary fee report
090789 NEW YORK UNIVERSITY RETIREMENT PLAN                                       Calculated as of June 30 2016


Plan assets                Total all-in fees
$717,585,381               $1,592,892                                                                  0.22%


                           Asset-based fees by provider

                                                                                                            1

                           Vanguard                                                                 $1,592,892


                           Non-Vanguard                                                                    $0


                       ■   Other Investments                                                               $0
   Vanguard funds
   $717,585,381


I
r Non-Vanguard funds
   $0                      Total fees by service

   Other investments
   $0
                           Asset-based fees net of recordkeeping                       0.16%        $1,150,850
                           Vanguard (less recordkeeping credit)                                     $1,150,850


Participant accounts       Non-Vanguard (less payment for recordkeeping)                                   $0
10,327
                           Other investments                                                               $0

                           Recordkeeping compensation by source                          0.06%        $442,043
                                Total direct compensation: Fee paid directly from plan                      $0
                                Total indirect compensation: Payment for recordkeeping from non-
                                Vanguard funds                                                              $0
                                Total recordkeeping compensation from plan sponsor                          $0
                                Vanguard current recordkeeping credit                                 $442,043


                           Additional fees                                                                 $0


                           Total all-in fees                                                        $1,592,892




                                                                                                        NYU0007210
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All-in fee report
408(b)(2) disclosure for 090789 NEW YORK UNIVERSITY
                                                                                                        Calculated as of June 30 2016
RETIREMENT PLAN

Vanguard fund asset-based fees

Fund Name                                               Assets    Expense ratio   Morningstar average        Current recordkeeping credit

Vanguard Balanced Index Fund Investor Shares        $10,232,200          0.22%                 0.86%                               0.14%

Vanguard Capital Opportunity Fund Investor Shares   $12,822,919          0.45%                 1.16%                               0.07%

Vanguard Capital Value Fund                          $1,304,515          0.50%                 1.13%                               0.00%
Vanguard Convertible Securities Fund                 $1,247,580          0.38%                 1.28%                               0.00%
Vanguard Developed Markets Index Fund Investor
                                                     $2,102,187          0.20%                 1.12%                               0.11%
Shares
Vanguard Dividend Growth Fund                        $7,632,350          0.33%                 1.02%                               0.00%
Vanguard Emerging Markets Stock Index Fund
                                                     $7,731,148          0.33%                 1.50%                               0.18%
Investor Shares
Vanguard Energy Fund Investor Shares                 $4,212,998          0.37%                 1.47%                               0.06%
Vanguard Equity Income Fund Investor Shares          $6,617,198          0.26%                 1.08%                               0.09%
Vanguard European Stock Index Fund Investor
                                                     $3,656,168          0.26%                 1.40%                               0.14%
Shares
Vanguard Explorer Fund Investor Shares               $6,572,482          0.49%                 1.30%                               0.14%
Vanguard Extended Market Index Fund Investor
                                                     $3,816,979          0.22%                 1.13%                               0.13%
Shares
Vanguard Federal Money Market Fund                   $1,022,146          0.11%                   N/A                               0.00%

Vanguard FTSE Social Index Fund Investor Shares      $1,118,110          0.25%                 1.02%                               0.00%

Vanguard Global Equity Fund                          $4,379,857          0.57%                 1.26%                               0.00%
Vanguard GNMA Fund Investor Shares                   $4,804,493          0.21%                 0.89%                               0.10%

Vanguard Growth and Income Fund Investor Shares      $4,304,811          0.34%                 1.02%                               0.11%

Vanguard Growth Index Fund Investor Shares           $8,546,478          0.22%                 1.16%                               0.14%
Vanguard Health Care Fund Investor Shares            $8,409,116          0.36%                 1.32%                               0.05%
Vanguard High-Yield Corporate Fund Investor
                                                     $5,254,484          0.23%                 1.07%                               0.10%
Shares
Vanguard Inflation-Protected Securities Fund
                                                     $7,386,057          0.20%                 0.75%                               0.10%
Investor Shares
Vanguard Institutional Index Fund Institutional
                                                    $57,065,932          0.04%                 1.02%                               0.00%
Shares
Vanguard Intermediate-Term Bond Index Fund
                                                     $3,341,666          0.16%                 0.79%                               0.07%
Investor Shares
Vanguard Intermediate-Term Investment-Grade
                                                     $3,422,148          0.20%                 0.88%                               0.10%
Fund Investor Shares
Vanguard Intermediate-Term Treasury Fund
                                                     $2,545,516          0.20%                 0.89%                               0.10%
Investor Shares
Vanguard International Explorer Fund                 $4,545,294          0.42%                 1.31%                               0.00%
Vanguard International Growth Fund Investor
                                                     $9,410,107          0.47%                 1.28%                               0.13%
Shares
Vanguard International Value Fund                    $3,783,118          0.46%                 1.18%                               0.00%

Vanguard LifeStrategy Conservative Growth Fund       $3,672,162          0.13%                 0.81%                               0.00%

Vanguard LifeStrategy Growth Fund                    $8,476,073          0.15%                 0.88%                               0.00%
Vanguard LifeStrategy Income Fund                    $1,253,526          0.12%                 0.69%                               0.00%

Vanguard LifeStrategy Moderate Growth Fund           $6,919,735          0.14%                 0.86%                               0.00%

Vanguard Long-Term Bond Index Fund                   $3,523,547          0.16%                 0.59%                               0.00%




                                                                                                                                  NYU0007211
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All-in fee report
408(b)(2) disclosure for 090789 NEW YORK UNIVERSITY
                                                                                  Calculated as of June 30 2016
RETIREMENT PLAN
Vanguard Long-Term Investment-Grade Fund
                                                     $8,351,820   0.21%   0.88%                           0.09%
Investor Shares
Vanguard Long-Term Treasury Fund Investor
                                                     $7,302,651   0.20%   0.61%                           0.10%
Shares
Vanguard Mid-Cap Growth Fund                         $2,791,173   0.43%   1.27%                           0.00%

Vanguard Mid-Cap Index Fund Investor Shares          $8,432,596   0.20%   1.13%                           0.12%

Vanguard Morgan Growth Fund Investor Shares          $9,854,141   0.40%   1.16%                           0.13%

Vanguard Pacific Stock Index Fund Investor Shares    $3,770,346   0.26%   1.35%                           0.14%

Vanguard Precious Metals and Mining Fund             $3,637,991   0.35%   1.44%                           0.00%
Vanguard Prime Money Market Fund                    $26,171,317   0.16%     N/A                           0.00%
Vanguard PRIMECAP Core Fund                          $2,222,675   0.47%   1.16%                           0.00%
Vanguard PRIMECAP Fund Investor Shares              $27,317,393   0.40%   1.16%                           0.06%
Vanguard REIT Index Fund Investor Shares             $9,165,929   0.26%   1.28%                           0.14%
Vanguard Selected Value Fund                         $4,074,387   0.39%   1.18%                           0.00%
Vanguard Short-Term Bond Index Fund Investor
                                                     $2,916,032   0.16%   0.79%                           0.07%
Shares

Vanguard Short-Term Federal Fund Investor Shares     $1,410,709   0.20%   0.80%                           0.10%

Vanguard Short-Term Investment-Grade Fund
                                                     $7,157,421   0.20%   0.79%                           0.10%
Investor Shares
Vanguard Short-Term Treasury Fund Investor
                                                     $2,176,888   0.20%   0.80%                           0.10%
Shares
Vanguard Small-Cap Growth Index Fund Investor
                                                     $3,739,331   0.20%   1.30%                           0.12%
Shares

Vanguard Small-Cap Index Fund Investor Shares        $4,055,752   0.20%   1.22%                           0.12%

Vanguard Small-Cap Value Index Fund                  $6,086,542   0.20%   1.33%                           0.12%
Vanguard STAR Fund                                   $5,682,308   0.34%   0.86%                           0.00%
Vanguard Strategic Equity Fund                       $6,223,556   0.21%   1.13%                           0.00%
Vanguard Target Retirement 2010 Fund                 $2,186,798   0.14%   0.37%                           0.04%
Vanguard Target Retirement 2015 Fund                $10,909,967   0.14%   0.36%                           0.04%
Vanguard Target Retirement 2020 Fund                $11,924,238   0.14%   0.43%                           0.04%
Vanguard Target Retirement 2025 Fund                $23,091,067   0.15%   0.39%                           0.05%
Vanguard Target Retirement 2030 Fund                $15,792,214   0.15%   0.43%                           0.05%
Vanguard Target Retirement 2035 Fund                $25,762,392   0.15%   0.39%                           0.05%
Vanguard Target Retirement 2040 Fund                $24,997,781   0.16%   0.43%                           0.06%
Vanguard Target Retirement 2045 Fund                $31,515,414   0.16%   0.40%                           0.06%
Vanguard Target Retirement 2050 Fund                $19,646,635   0.16%   0.41%                           0.06%
Vanguard Target Retirement 2055 Fund                 $3,252,137   0.16%   0.39%                           0.06%
Vanguard Target Retirement 2060 Fund                  $513,852    0.16%   0.34%                           0.06%
Vanguard Target Retirement Income Fund               $2,189,730   0.14%   0.44%                           0.04%
Vanguard Total Bond Market Index Fund Investor
                                                    $24,146,102   0.16%   0.79%                           0.10%
Shares
Vanguard Total International Stock Index Fund
                                                    $11,019,533   0.19%   1.12%                           0.07%
Investor Shares
Vanguard Total Stock Market Index Fund
                                                    $39,189,313   0.04%   1.02%                           0.00%
Institutional Shares
Vanguard Treasury Money Market Fund                  $1,355,599   0.09%     N/A                           0.00%
Vanguard U.S. Growth Fund Investor Shares            $8,997,796   0.47%   1.16%                           0.14%
Vanguard U.S. Value Fund                             $1,188,719   0.26%   1.08%                           0.00%




                                                                                                         NYU0007212
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All-in fee report
408(b)(2) disclosure for 090789 NEW YORK UNIVERSITY
                                                                                                                           Calculated as of June 30 2016
RETIREMENT PLAN
Vanguard Value Index Fund Investor Shares                      $3,891,595             0.22%                        1.08%                                     0.14%

Vanguard Wellesley Income Fund Investor Shares                 $7,118,684             0.23%                        0.81%                                     0.07%

Vanguard Wellington Fund Investor Shares                     $21,227,763              0.26%                        0.86%                                     0.08%
Vanguard Windsor Fund Investor Shares                        $39,677,828              0.39%                        1.08%                                     0.10%
Vanguard Windsor II Fund Investor Shares                     $14,316,166              0.34%                        1.08%                                     0.08%
Vanguard total                                              $717,585,381              0.22%                        0.89%                                     0.06%
Vanguard total asset-based fees                                                  $1,592,892                   $6,124,850                               $442,043




*The current recordkeeping payment is paid by the fund or fund company. Additional fees may be described below.




Recordkeeping fees
Fee description                                                                     Paid by                                                            Total fee
Annual Administrative Fee                                                      Plan sponsor                                    Included in Current Service Offer


Total recordkeeping compensation from plan sponsor                                                                                                              $0

Annual Recordkeeping Per All Participant (Paid By
                                                                                 Participants                                  Included in Current Service Offer
Participant Fixed Per Capita)


Total direct compensation'                                                                                                                                      $0

Total indirect compensation (Current recordkeeping payment from non-                                                                                            $0
Vanguard funds)

Vanguard current recordkeeping credit                                                                                                                  $442,043
Total recordkeeping compensation                                                                                                                       $442,043


* Direct compensation includes fees paid out of the plan. Plan sponsors may pay appropriate fees from the plan forfeiture account if permitted in the plan
document.


Additional fees
Fee description                                                                                                  Paid by                                      Fee
Ad Hoc Reporting                                                                                            Plan sponsor                        As Agreed Upon
Additional Processing                                                                                       Plan sponsor                        As Agreed Upon
Beneficiary Determination Service                                                                           Plan sponsor       Included in Current Service Offer
Client Requested Account Adjustments                                                                        Plan sponsor                        As Agreed Upon
Conversion - Asset Transfer                                                                                 Plan sponsor                        As Agreed Upon
Conversion - Divisional Transfers                                                                           Plan sponsor                        As Agreed Upon
Conversion - Plan To Plan Transfers                                                                         Plan sponsor                        As Agreed Upon
Conversion - Start Up Plans                                                                                 Plan sponsor                        As Agreed Upon
Mistake of Fact Processing                                                                                  Plan sponsor                                       $50
Participant Education Retirement Service                                                                    Plan sponsor                        As Agreed Upon




                                                                                                                                                         NYU0007213
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All-in fee report
408(b)(2) disclosure for 090789 NEW YORK UNIVERSITY
                                                                                                                        Calculated as of June 30 2016
RETIREMENT PLAN
QDRO Processing (Paid By Participant Fixed Per Capita)                                                   Participants                                  $50

Return of Excess                                                                                        Plan sponsor                                   $50


Termination related compensation*                                                                                                                 $15,000

*Vanguard charges a fee for the conversion services that it will perform to transfer a plan to a subsequent provider. The standard conversion services fee
above will apply unless otherwise outlined in the recordkeeping fee agreement. Early termination fees also outlined in your recordkeeping fee agreement may
apply if the arrangement is terminated in the first three years. Fees charged by Vanguard generally are billed in arrears. As such, plans are not charged
amounts to pre pay for services. If such arrangements are made with a plan, the calculation and refund of any such pre-paid amounts upon transfer or
termination of the plan is detailed in a separate agreement with the plan governing those services.'



All-in fee summary
Participant accounts                                                                                                                                10,327
Vanguard total asset-based fees                                                                                                                $1,592,892
Non-Vanguard total asset-based fees                                                                                                                     $0
Other investment total asset-based fees                                                                                                                 $0
Total direct compensation                                                                                                                               $0
Total recordkeeping compensation from plan sponsor                                                                                                      $0

Included additional fees                                                                                                                                $0
Other additional fees                                                                                                                             Variable
Total all-in fees                                                                                                                              $1,592,892
Total assets                                                                                                                                 $717,585,381
Total expense ratio                                                                                                                                 0.22%




                                                                                                                                                   NYU0007214
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                                                               FOOTNOTES

This All-in fee report includes all fees, expenses and compensation Vanguard reasonably expects it, its affiliates or its subcontractors to
receive, and any compensation received by an outside fund company in the form of the outside fund's expense ratio as reported by a third
party to Vanguard. Any fees, expenses or compensation charged or received by another covered service provider to the plan is not included.

All investing is subject to risk. Investments in bond funds are subject to interest rate, credit and inflation risk. Foreign investing involves
additional risks including currency fluctuations and political uncertainty. The cost information presented on this analysis is from the best
available information on the date it was prepared and is subject to change. This information is subject to change based on our review of the
specifications associated with a particular client plan(s).
The Vanguard expense ratios, expressed as a percentage of the funds assets, have been restated to reflect expenses being deducted from
current fund assets, as of the most recent prospectus. If applicable, outside fund expense ratios were obtained from Lipper, Morningstar, or
the fund company and are only as current as the information supplied to these entities by third parties. Vanguard makes no representations
as to the completeness or accuracy of data obtained from third parties.

Asset data in this report may vary from previous reports or other sources due to subsequent plan activity.
All fund expense ratios are as reported in their prospectus. Because some funds invest in other investment companies, including business
development companies (BDCs), SEC rules require that these funds' reported expense ratios include the expenses of these other
investment companies (known as acquired fund fees and expenses or AFFE), though these are actually internal expenses of the BDCs, not
fees paid to Vanguard, and are not fund expenses that additionally reduce the return of these funds.
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content providers are responsible for any damages or losses arising from any use of this information. Past performance is no guarantee of
future results. The Morningstar Average is the category average expense ratio for all funds within the category peer group as assembled by
Morningstar, Inc.
The Vanguard Group (Vanguard) has partnered with Financial Engines Advisors L.L.C. (Financial Engines), an independent, federally
registered investment advisor that is not affiliated with Vanguard, to provide subadvisory services to the Vanguard Managed Account
Program (VMAPTM) and Personal Online Advisor (POA). Financial Engines does not sell investments or receive commissions for the
investments it recommends. Advisory services are provided by Vanguard Advisers, Inc. (VAI), a federally registered investment advisor and
an affiliate of Vanguard. For certain POA arrangements entered into before 2006, advisory services are not provided by VAI but rather by
Financial Engines, a federally registered investment advisor that is not affiliated with Vanguard. Please refer to your plan's separate VMAP
or POA agreement for additional information. Vanguard is owned by the Vanguard funds, which are distributed by Vanguard Marketing
Corporation, a registered broker-dealer affiliated with VAI and Vanguard. Neither Vanguard, Financial Engines, nor their respective affiliates
guarantee future results.
The Vanguard Financial Plan is provided by Vanguard Advisers, Inc., a registered investment advisor.
Vanguard Asset Management Services are provided by Vanguard National Trust Company, which is a federally chartered, limited-purpose
trust company operated under the supervision of the Office of the Comptroller of the Currency.

                                                                 APPENDIX

Recordkeeping disclosures
Methodology for Determining Recordkeeping Compensation
Several different sources of revenue comprise Vanguard's compensation for recordkeeping services provided to the plan. These include:
 •Direct compensation — These fees are deducted directly from participant accounts or plan assets.
 •Indirect compensation — Certain non-Vanguard investments (including mutual funds and collective trusts) pay Vanguard (or one of its
 affiliates) compensation for services provided to plan participants invested in such non-Vanguard investments ("market-based payments for
 distribution"). This compensation includes shareholder-servicing fees, subtransfer agency fees, distribution or 12b-1 fees, or account
 recordkeeping fees. These arrangements pay compensation for recordkeeping services that would otherwise be charged to the plan.


 •Vanguard fund current recordkeeping credit — In accordance with, and as required by, the regulation under 408(b)(2),
 Vanguard has determined that for all plan assets invested in certain Vanguard mutual funds, a credit shall be attributed
 for recordkeeping services provided by Vanguard to the plan. The attribution rate considers a number of factors
 including: non-Vanguard fund market-based payments for distribution, the relative difference between Vanguard
 expense ratios and those of other major fund companies, expense ratio differences between Vanguard's various share
 classes and trends in Vanguard fund expense ratios. Recordkeeping attribution rates for the Vanguard funds are
 reviewed by management on an on-going basis and are subject to change.
 •Recordkeeping compensation from plan sponsor — This compensation is not included in the calculation of direct
 compensation. These are fees that are billed directly to the plan sponsor and are not identified as intended to be paid
 from plan assets, however, fees the plan sponsor directs to be paid out of the forfeiture account and fees paid by the
 plan sponsor that are reimbursed by the plan are considered direct compensation.
In addition to the above, Vanguard may receive compensation for other services offered outside of the standard recordkeeping package,
which are billed to the plan or plan sponsor and disclosed separately.




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Compensation among related parties
Service providers must supply plan sponsors with a description of any compensation that will be paid to the service provider, an affiliate or a
subcontractor in connection with the services provided to the plan if such compensation is set on a transaction basis (e.g., commissions, soft
dollars, finder's fees, or other similar incentive compensation based on business placed or retained) or that will be charged directly against
the plan's investment and reflected in the net value of the investment (e.g., 12b-1 fees).
No such compensation has been or will be paid among Vanguard and any affiliate or subcontractor in connection with the services provided
to the plan.

Manner of receipt of compensation
Compensation received by Vanguard will be billed directly to the plan sponsor or paid directly from the covered plan's accounts or
investments as detailed herein. Certain additional or optional service fees are generally billed directly to the plan sponsor, but may be paid
by plan assets (e.g., from plan forfeitures) at the discretion and direction of the plan sponsor and in accordance with the plan document.


Additional disclosures
Description of services
Vanguard, its affiliates, and subcontractors provide the following core services to the plan:
Trustee services — If reflected in the plan's trust agreement, Vanguard Fiduciary Trust Company (VFTC) serves as directed trustee for the
plan.
Recordkeeping services — Vanguard's recordkeeping services to the plan include:
 •Basic account recordkeeping (e.g., demographic, source, investment and vesting records)
 •Multi-channel participant and plan sponsor access (e.g., phone, web, Vanguard Plan Sponsor Website)
 •Daily participant transaction accounting (e.g., purchases, redemptions, exchanges)
 •Payroll services (e.g., contribution and loan repayments)
 •Distribution services (e.g., hardships, in-service withdrawals, termination distributions)
 •Participant tax reporting services (e.g., IRS Form 1099-R)
 •Participant confirmations, statements and standard notices
 •Plan-level reporting and annual financial package (excluding IRS Form 5500)
 •Participant education (e.g., newsletters, web articles, standard communication materials)
 •Plan consulting (e.g., preapproved document services, operational compliance support)

At the parties' mutual agreement, Vanguard may also perform additional ad-hoc recordkeeping services for your plan. Any such additional
services for your plan are described in the "Additional service fees" section of the All-in fee report or in a separate writing as applicable (e.g.,
an engagement letter for additional services). For additional detail on Vanguard's recordkeeping services, please refer to the Vanguard
Service Administration Manual located on the Vanguard Plan Sponsor Website at vanguard.com.


Investment management services — VFTC provides investment management services to the plan if the plan utilizes
Vanguard-managed collective trust or separate account investments (including Vanguard-managed stable value funds).


Participant advice services — To the extent authorized by the plan sponsor, Vanguard Advisers, Inc. (VAI) provides the
following participant advisory services to plan participants:
 •Vanguard Personal Online Advisor (POA) (note that advisory services may be provided by Financial Engines for certain
 pre-2006 arrangements, if stated in your agreement)
 •Vanguard Managed Account Program (VMAP)
 •Vanguard Financial Planning Services including The Vanguard Financial Plan (VFP) and Ask a CFP® Professional
In addition, if authorized by the plan sponsor, Vanguard National Trust Company (VNTC) provides discretionary participant advisory services
to plan participants through Vanguard's Asset Management Service TM (AMS).

Statement of Fiduciary Status
In general, recordkeeping, administrative and non-trustee custodial services provided by Vanguard are ministerial in nature and, consistent
with the Department of Labor Regulation section 2509.75-8, in such capacity Vanguard acts in a nondiscretionary manner and does not act
as a plan fiduciary. In the provision of the directed trustee services described above, VFTC acts as a plan fiduciary as defined under ERISA
section 3(21).
To the extent it provides investment management services as described above to the plan, VFTC acts as a plan fiduciary as defined under
ERISA section 3(21) and 3(38). To the extent participants utilize the participant advice services described above, VAI or VNTC, as
applicable, act as plan fiduciaries as defined under ERISA section 3(21) and VAI acts as a registered investment advisor under the
Investment Advisers Act of 1940. To the extent participants utilize the POA service under a pre-2006 arrangement in which Financial
Engines has agreed in writing to provide advisory services, Financial Engines Advisors L.L.C. acts as a plan fiduciary under ERISA section
3(21) and as a registered investment advisor under the Investment Advisers Act of 1940.




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Float disclosure
Vanguard maintains pooled or "omnibus" accounts to facilitate transactions for plans for which Vanguard provides recordkeeping services.
The pooled account holds contributions (examples include, but are not limited to rollovers, loan repyaments, and plan-wide contributions)
pending investment direction, completion of processing, and distributions pending redemption of a check. To the extent there are any
earnings (i.e., "float") on the monies that accumulate in the pooled account, the earnings are allocated proportionately among all of the
Vanguard mutual funds in order to offset expenses
of the mutual funds. This cash management process ultimately lowers the expense ratios of the mutual funds, thereby benefiting all fund
To the extent Vanguard receives assets prior to Vanguard's determination that a trade request is in good order, the potential earnings period
begins on the date the contribution is received and ends on the date the contribution instructions are received in good order. With respect to
distributions pending redemption of a check, the potential earnings period begins on the date the distribution check is written and ends on
the date the check is presented for payment or otherwise resolved, including, if applicable, the date the funds attributable to the outstanding
benefit check are moved to a plan forfeiture account. The earnings rate is a rate that is based on the federal funds rate. Administrative
procedures, outlined in the Service Administration manual are located on the Vanguard Plan Sponsor Website, are in place to limit any
potential float period.

Trade Processing and Reconciliation
Vanguard strives to ensure timely and accurate processing of all transactions. Although Vanguard seeks to avoid errors, occasionally an
error may occur when Vanguard processes a transaction on behalf of a plan participant. If a processing error caused by Vanguard is
identified, once Vanguard has obtained sufficient information to correct the error, Vanguard promptly takes corrective action to put the plan
and participants in a position financially equivalent to the position they would have been if the error had not occurred.

Vanguard has procedures in place to reconcile all transactions on its recordkeeping systems, including corrective transactions, to its plan
trading accounts. If Vanguard determines that corrective action by Vanguard to fix a processing error caused by Vanguard results in losses,
Vanguard makes the plan and affected participants whole for the amount of such losses. If gains occur as a result of any corrective action to
adjust plan accounts on Vanguard's recordkeeping system, such gains are retained by Vanguard and may be used to offset any losses
resulting from corrections and this reconciliation process.

Gift and Entertainment Policy
Vanguard's Gift and Entertainment Policy (the "Policy") was adopted in accordance with applicable regulatory guidelines and is intended to
help employees make appropriate decisions that are consistent with the best interests of Vanguard fund shareholders. It is Vanguard's
policy that giving and receiving gifts and entertainment should never create or appear to create a conflict of interest, interfere with the
impartial fulfillment of our responsibilities to clients, create the appearance of a reward, or place Vanguard in a difficult or compromising
position. Vanguard employees are not permitted to solicit gifts or entertainment, and extravagant or excessive entertaining is also prohibited.
Vanguard has carefully reviewed the gifts and entertainment received by its employees pursuant to the Policy. It has been determined that
under any reasonable method of allocation, the gifts and entertainment attributable to any plan are of insubstantial value and, therefore,
exempt from reporting on the Schedule C for the plan's Form 5500.



Similarly, Vanguard does not reasonably anticipate receiving non-monetary compensation associated with any plan in excess of $250 and,
accordingly, does not have reportable non-monetary compensation for purposes of ERISA section 408(b)(2).

Additional disclosures on investments under 29 CFR section 2550.404a-5(d)(1)
Vanguard is required to provide any information or data about the plan's designated investment alternatives that is within the control of or
reasonably available to Vanguard, and that is required for the plan to comply with its disclosure obligations under the regulations at 29 CFR
section 2550.404a-5(d)(1). Information about the plan's designated investment alternatives is available on the investment chart contained on
the plan's participant fee notice, which has been distributed to you through the Vanguard Plan Sponsor Website at vanguard.com. For all
mutual fund holdings, information is also available in each fund prospectus and statement of additional information (SAI). For collective trust
investments, please review the investment's fund fact sheet and annual report. If applicable, outside fund information was obtained from
Lipper, Morningstar or the fund company and is only as current as the information supplied to those entities by third parties. Vanguard
makes no representation as to the completeness or accuracy of any data obtained from any third party.


To assist plans with their disclosure obligations for participant fee disclosure, Vanguard has created a website for additional investment
information, which is listed on the first page of the participant fee disclosure notice, and is located in the Fees and Expenses section of the
Research Funds tab for each plan participant account. If you need assistance locating this information, please contact your Vanguard
relationship manager.




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